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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


        MONTEREY BAY MILITARY HOUSING,        : Docket #19-CV-9193

        LLC, et al.,                          :

                               Plaintiffs,    :

              -against-                       :

        AMBAC ASSURANCE CORP. et al.,         :

                               Defendants.    : New York, New York

                                              : December 19, 2022

        --------------------------------: CONFERENCE



                            PROCEEDINGS BEFORE

                       THE HONORABLE SARAH L. CAVE

                     UNITED STATES MAGISTRATE JUDGE




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                         APPEARANCES (Continued)



        For (Unknown):           (First Name Unknown) Bannon
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                  Re-           Re-
        Witness              Direct      Cross          Direct    Cross
        None



                               E X H I B I T S

        Exhibit             Voir
        Number          Description           ID   In      Dire
        None
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  1                THE DEPUTY CLERK:       Your Honor, this is in

  2     the matter of Monterey Bay Military Housing, LLC, et

  3     al., versus AMBAC Assurance Corporation, et al., 19

  4     Civ. 9193.

  5                Counsel, please state your appearance for

  6     the record.

  7                MS. TABAKSBLAT:       Good afternoon.     Lauren

  8     Tabaksblat from Brown Rudnick on behalf of

  9     plaintiffs.     And with me today are my colleagues,

 10     Meghan McCafferty and Richard Darst.

 11                THE COURT:    Okay.     Good afternoon.

 12                Okay.   For AMBAC?

 13                MR. JONES:    Good afternoon, Your Honor.

 14     Taylor Jones from Quinn Emanuel for Defendant, AMBAC

 15     Assurance Corporation.       And I'm joined by my

 16     colleagues, Rachel Epstein, Jeremy Baldoni and

 17     Tenisha Williams.

 18                THE COURT:    Okay.     Good afternoon.

 19                And, Ms. Williams, your order hasn't been

 20     docketed yet, but we have signed it, so you're fine.

 21                Okay.   Jefferies?      Is there --

 22                MR. BALBER:    Good afternoon, Your Honor.

 23                Scott Balber from Herbert Smith Freehills.

 24     And with me are my colleagues, John O'Donnell,

 25     Barron Flood and Michael Jones.
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  1                 THE COURT:     Okay.     Good afternoon.

  2                 For Mr. Ray?

  3                 MR. AHMED:     Good afternoon, Your Honor.

  4                 Amer Ahmed for Dan Ray from Gibson Dunn &

  5     Crutcher.     With me are my colleagues, Hannah

  6     Kirshner, Reed Brodsky and Cullinan Williams.

  7                 THE COURT:     Okay.     Good afternoon.     I'll

  8     add Williams to the list of popular names in this

  9     case.

 10                 Okay.    Mr. Marfatia?

 11                 MR. MULDREW:     Good afternoon, Your Honor.

 12                 Brian Muldrew, Katten Muchin Rosenman, on

 13     behalf of Defendant Chetan Marfatia.

 14                 THE COURT:     Okay.     Good afternoon.

 15                 For Malvern?     Do we have someone for

 16     Malvern?     Okay.

 17                 And Mr. Bannon?        Okay.

 18                 MR. BANNON:     Your Honor, (inaudible).

 19                 THE COURT:     Okay.     Great.   Okay.    Lucky

 20     you.

 21                 I'm going to start with you first because

 22     we -- I'm hoping to get you out of here so you don't

 23     have to be subjected to everything that we're going

 24     to talk about today.

 25                 So I guess we'll start with AMBAC.
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  1     Mr. Jones, I don't know who is going to take the

  2     lead on your side, but, obviously, we have

  3     Mr. Bannon's letter that seems to maybe resolve some

  4     of the issues, but where do things stand?

  5                MR. JONES:    Yeah, I would agree with that,

  6     Your Honor.     Several of the issues are resolved

  7     based on Mr. Bannon's letter.        There still are a few

  8     open issues, though --

  9                THE COURT:    Okay.

 10                MR. JONES:    -- certainly with respect to

 11     documents.    We're still waiting on the Army to

 12     produce Barry Scribner's (phonetic) documents or to

 13     let us know if those documents have been lost.

 14                THE COURT:    Okay.

 15                MR. JONES:    We just learned for the first

 16     time in Mr. Bannon's letter last week, that the

 17     military never instituted a litigation hold.

 18                We, obviously, disagree with that decision,

 19     and we are considering a potential motion for

 20     sanctions based on a failure to preserve documents,

 21     but we, obviously, need more information about that.

 22                Basically, we would like to know when the

 23     Army will have an answer on Mr. Scribner's

 24     documents.

 25                THE COURT:    Okay.
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  1                MR. JONES:    We'd like a commitment from

  2     them on when they'll be produced.

  3                Turning to the Air Force, we're also

  4     waiting for documents in response to our two-year

  5     request from the Air Force.        We understand that

  6     there were e-mail issues that, you know, caused

  7     that --

  8                THE COURT:    Yeah.

  9                MR. JONES:    -- request to have possibly

 10     been overlooked, but we can't wait another three

 11     months to get those documents.

 12                THE COURT:    Right.    Okay.

 13                MR. JONES:    As far as General Daley

 14     (phonetic) goes, you know, we understand that the

 15     Army is potentially willing to offer 30(b)(6)

 16     testimony instead of --

 17                THE COURT:    Okay.

 18                MR. JONES:    -- you know, offering

 19     Mr. Daley -- or General Daley as a witness.

 20                We're open to potentially considering that,

 21     as long as the Army is willing to offer 30(b)(6)

 22     testimony on the topics for which we wanted General

 23     Daley's testimony.      And that includes the

 24     unclean-hands issues and his work investigating

 25     housing conditions as part of Army Material Command.
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  1                THE COURT:    Okay.    And have you served

  2     those topics on the Army, or do those have --

  3                MR. JONES:    We have not served 30(b)(6)

  4     topics yet.

  5                THE COURT:    Okay.

  6                MR. JONES:    We received the invitation to

  7     serve a 30(b)(6) --

  8                THE COURT:    Okay.

  9                MR. JONES:    -- notice last week, and we're

 10     considering that offer now.

 11                THE COURT:    Okay.    All right.

 12                I would strongly encourage you to consider

 13     that carefully.     I -- it's pretty unlikely that I

 14     would be compelling General Daley to appear for a

 15     deposition based on what's been said to me so far.

 16     You know, that's not a ripe issue, but just based on

 17     what's been presented, I don't think that this is a

 18     case that should be garnering his attention unless

 19     there's something, like, more specific like we've

 20     addressed with some of the other witnesses in this

 21     case.   So hopefully the parties can work that out.

 22                So I'll give Mr. Bannon a chance to

 23     respond, I guess, specifically on the Scribner

 24     documents, the Air Force documents and, I guess, the

 25     timing on receiving both of those.
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   1                 MR. BANNON:    Sure, Your Honor.

   2                 With respect to the Scribner documents, the

   3     Army is currently looking into two more domains that

   4     were used --

   5                 THE COURT:    Okay.

   6                 MR. BANNON:    -- while working with the

   7     Pentagon.     I expect the search to be done shortly.

   8                 THE COURT:    Okay.

   9                 MR. BANNON:    And in short time we will know

  10     whether there are additional documents that are

  11     being produced or not --

  12                 THE COURT:    Okay.

  13                 MR. BANNON:    -- I expect to have an answer

  14     by the end of this week --

  15                 THE COURT:    Okay.

  16                 MR. BANNON:    -- on this issue.

  17                 THE COURT:    Great.

  18                 MR. BANNON:    With respect to the Air Force

  19     documents, the Air Force is seeing this request for

  20     the first time this week.

  21                 THE COURT:    Okay.

  22                 MR. BANNON:    (Inaudible) request.        I have

  23     talked to them about it.          They do not have a

  24     production timeline with respect to that yet.             It's

  25     going to take them some time to get a bearing on how
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   1     many documents they may have that are responsive to

   2     it.

   3                THE COURT:    Okay.

   4                MR. BANNON:    But I can update you as well

   5     at the end of this week when we have an idea on the

   6     other issues, if that will be helpful.

   7                THE COURT:    Okay.

   8                MR. BANNON:    And with respect to General

   9     Daley, we would be happy to the review the 30(b)(6)

  10     request when it comes in (inaudible).

  11                THE COURT:    Okay.     I appreciate that.

  12                Mr. Jones, in terms of the documents from

  13     the Air Force, it could potentially be a lot, or is

  14     it possible for you to focus specifically -- instead

  15     of just relying on the whole request, are there

  16     particular categories that are most important that

  17     would help Mr. Bannon prioritize his contact's

  18     efforts?

  19                MR. JONES:    I think we could potentially

  20     hone in on some specific topics.

  21                THE COURT:    Okay.

  22                MR. JONES:    Certainly related to the Air

  23     Force's approval of lender-selection decisions, any

  24     other major decisions, you know, possibly some other

  25     categories of documents.         I think what might make
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   1     sense --

   2                THE COURT:    Okay.

   3                MR. JONES:    -- is for us to follow up with

   4     him in writing and highlight some particular

   5     requests that are higher priority than others.

   6                THE COURT:    Okay.   I assume that would be

   7     helpful, Mr. Bannon?

   8                MR. BANNON:    Very helpful.

   9                THE COURT:    Okay.   Great.

  10                Okay, so I'll rely on you, Mr. Jones, to

  11     follow up with Mr. Bannon about that.

  12                And then if -- Mr. Bannon, if you could

  13     give us something on the docket by the end of the

  14     week just letting us know the status of the Army

  15     productions and the Air Force searches.

  16                MR. BANNON:    No problem.

  17                THE COURT:    Okay.   Okay.    Good.   All right.

  18                If you don't want to stay, not to -- not --

  19     no offense, but you're welcome to leave.          Okay.

  20                Thank you very much, Mr. Bannon.

  21                So then I had thought we -- that we would

  22     cover the Malvern issue next because I was hoping to

  23     let them go, but since there's nobody here from

  24     Malvern, I'll just lump that in with everything else

  25     that we're going to talk about.
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   1               So, Ms. Tabaksblat, why don't we start with

   2     the issues that you've raised in your letter, and

   3     let me know what's still open.

   4               MS. TABAKSBLAT:        Your Honor, the first

   5     issue we raised, which I think should be pretty

   6     simple, is scheduling a date for Mr. Handler's

   7     deposition.    We have reached out to Jefferies.          We

   8     haven't received any proposed dates.            And we'd like

   9     the Court to order them to provide proposed dates by

  10     the end of the week.

  11               THE COURT:     Okay.     All right.

  12               Mr. Balber?

  13               MR. BALBER:     Thank you, Your Honor.

  14               First of all, I -- the way it was

  15     characterized in Ms. Tabaksblat's letter was that

  16     Jefferies refused to provide a date for Mr. Handler.

  17     That's just flatly false.         They asked us for a date

  18     last Wednesday --

  19               THE COURT:     Okay.

  20               MR. BALBER:     -- along with a series of

  21     other depositions.      We understand your order.        We're

  22     going to comply with it.

  23               At the last conference, your Honor noted

  24     that -- I'm not going to quote you back to you, but

  25     you said at the end, after the rest of our witnesses
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   1     were deposed --

   2                 THE COURT:    Okay.

   3                 MR. BALBER:    -- there are 35 witnesses in

   4     total who have not been scheduled yet.          I don't know

   5     why Mr. Handler needs to have his deposition

   6     scheduled by the end of this week when plaintiffs

   7     have countless depositions they've been unable to

   8     schedule of their people, numerous cancellations.

   9     We will get them a date before the end of discovery

  10     deadline.     I can't get a date this week.         And,

  11     again, I'm not sure why Mr. Handler is so special

  12     that his deposition needs to be scheduled before 35

  13     other witnesses whose notices have been out there

  14     for months.

  15                 THE COURT:    Okay.     Ms. Tabaksblat?

  16                 I mean, I've ordered that he be deposed, so

  17     it -- I'm not going to let Mr. Balber out of that,

  18     so you have my word on that.

  19                 MR. BALBER:    And I'm not trying to get out

  20     of it.

  21                 THE COURT:    No, I know.     I know.     I know.

  22                 MS. TABAKSBLAT:       Your Honor, so with

  23     respect to this concept that there's 35

  24     un-deposed -- unscheduled dates, obviously, we're

  25     prioritizing the witnesses that we think are most
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   1     important so we don't need to take duplicate

   2     depositions if we don't need to take 35.

   3               THE COURT:     Right.

   4               MS. TABAKSBLAT:      I don't understand why we

   5     can't get a date.      It could happen at the end of the

   6     discovery period.      But it -- you know, just for

   7     scheduling purposes, this is a deposition that's a

   8     priority for us.     So if we could get that scheduled

   9     sometime in the near future, I think it's important

  10     to us to have that on the schedule.

  11               THE COURT:     I understand, but it also sort

  12     of flips exactly what Mr. Balber reminded me that I

  13     said about Mr. Handler was -- he was sort of the

  14     clean-up person on, you know, the issues that we had

  15     talked about at the last conference.

  16               So I -- I'm not going to order that

  17     Jefferies provide you a date by the end of the week

  18     because it's going to get worked out.         I've ordered

  19     that it's going to happen.        It's not going to not

  20     happen because I've held it in place.         So I

  21     understand that it's a priority for you, but -- I

  22     don't know who the other 35 are, but it will happen;

  23     okay?

  24               MS. TABAKSBLAT:      Understood.    Thank you,

  25     Your Honor.    We will hold that in abeyance, and if
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   1     we need to --

   2               THE COURT:     Okay.

   3               MS. TABAKSBLAT:        -- (inaudible).

   4               THE COURT:     Okay.     30(b)(6) topics?

   5               MS. TABAKSBLAT:        Oh, my colleague,

   6     Ms. McCafferty is going to address that.

   7               THE COURT:     Okay.     Go ahead.   Thank you.

   8               MS. McAFFERTY:      Good afternoon, Your Honor.

   9               With respect to the 30(b)(6) topics that

  10     the plaintiffs have issued to the Jefferies

  11     entities, we have been going back and forth with

  12     them over the past, you know, seven or eight months

  13     with respect to -- we served initial deposition

  14     topics in April, and we have revised those two

  15     times, sent two -- sent two additional notices.             And

  16     we were able to meet and confer with the Jefferies

  17     entities last Thursday, and we discussed the

  18     majority of their objections.         And we were able to

  19     reach agreement, I believe, on approximately four

  20     topics and --

  21               THE COURT:     Okay.

  22               MS. McAFFERTY:      -- there are four still

  23     under consideration, and we're working those ones

  24     out.

  25               THE COURT:     Okay.
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   1               MS. McAFFERTY:      But with respect to their

   2     main objections, there are two main categories.           The

   3     first is that they have argued that our topics are

   4     vague and overbroad.      And we would like to point out

   5     that each iteration that we've served upon them,

   6     we've attempted to limit that vagueness, add

   7     additional specificity, make the topics more

   8     particularized in order to facilitate this process

   9     and move forward.

  10               Additionally, we do not find that the

  11     topics in our second amended notice are overbroad.

  12     They go to the specific projects and specific

  13     knowledge that Jefferies would have.

  14               Their second objection deals with a general

  15     objection to Jefferies' knowledge about GMAC or

  16     Capmark's financings.      However, we find that to be

  17     incredibly relevant because in order to -- the

  18     successor liability for Jefferies is predicated upon

  19     their knowledge at the time in which that they

  20     purchased these assets through the 363 sale.

  21               And so all of our topics are narrowly

  22     tailored to target Jefferies' knowledge of what GMAC

  23     and Capmark were doing through these financings.               So

  24     we do not find that, you know, they need to have

  25     personal knowledge about the exact GMAC and Capmark
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   1     findings at issue, but we are entitled to discover

   2     what their knowledge was at the time --

   3                 THE COURT:    Okay.

   4                 MS. McAFFERTY:    -- so that we can ascertain

   5     what their successor liability would be.

   6                 THE COURT:    Okay.     Does anybody have a copy

   7     of the four that are in dispute that they can hand

   8     up to me?

   9                 MR. BALBER:    There aren't four in dispute.

  10                 THE COURT:    Okay.

  11                 MR. BALBER:    There are dozens in dispute.

  12                 THE COURT:    Okay.

  13                 MR. BALBER:    So -- but I --

  14                 THE COURT:    Regardless, does anybody have

  15     something I can look at that is a list of them.           I

  16     don't think I have that.          In the pile of things that

  17     I do get today, that was not one of them.

  18                 Okay.   Why don't you go ahead, Mr. Balber,

  19     and if somebody has a copy they can give me, fine;

  20     otherwise, I'll do my best.

  21                 MR. BALBER:    Yeah, I mean, I actually, as

  22     we -- as I thought about today, I was trying to

  23     navigate how you would want to approach this

  24     because --

  25                 THE COURT:    Yeah.
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   1               MR. BALBER:     -- there's a lot here.       I'm

   2     not sure us going through each one is going to be

   3     efficient --

   4               THE COURT:     No.

   5               MR. BALBER:     -- for your purposes.

   6               THE COURT:     No.

   7               MR. BALBER:     Right.    So I -- I mean, I

   8     think that that's a fair assessment of the two

   9     broad-based categories --

  10               THE COURT:     Okay.

  11               MR. BALBER:     -- of which there are issues.

  12               As to the first, which is overbreadth, I

  13     just want to give you one example, which is their

  14     Topic Number 1.     This is where it stands now after

  15     numerous iterations.      Jefferies knowledge of and

  16     experience with MHPI projects, including the

  17     debt-solicitation process, loan structuring, debt

  18     financing, industry-standard interest rates,

  19     industry-standard credit spreads, industry-standard

  20     bond sales, industry-standard service fees and

  21     profit margins.     That's one topic.

  22               THE COURT:     Right.

  23               MR. BALBER:     I don't know how I educate a

  24     witness to talk about that from the Jefferies

  25     perspective.
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   1                 THE COURT:    Right.

   2                 MR. BALBER:    There's another request,

   3     Number 3.     This is the -- as it currently stands.

   4     Jefferies' communications concerning the Plaintiff

   5     MHPI projects on their financing of such projects,

   6     including, one, internal communications concerning

   7     the Plaintiff MHPI projects.        Two, communications

   8     with AMBAC regarding the Plaintiff MHPI projects.

   9     Three, representations to and communications with

  10     Plaintiff MHPI products, the military, the

  11     developers, JLL, and any of their respective

  12     advisors, including their commitments to serve as

  13     financial advisor to provide best value, market

  14     price and open-book pricing.        Four -- and I can go

  15     on.   This is a single request.

  16                 And they're asking us, so we've had this

  17     conversation in numerous meet-and-confers, to look

  18     at the 100,000 documents-plus that we've produced,

  19     communications, and have a witness prepared to talk

  20     about them.     I don't know how to approach that.

  21                 THE COURT:    Well, will the plaintiffs give

  22     Jefferies the documents that they want to ask a

  23     30(b)(6) witness about?

  24                 MS. McAFFERTY:    Your Honor, with respect to

  25     the topic that he just highlighted, we would like to
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   1     point out that the breadth of these topics mirror

   2     exactly the topics that we've received from the

   3     defendants --

   4               THE COURT:     Right.

   5               MS. TABAKSBLAT:        -- that we've committed to

   6     put up.   For 18 different plaintiff projects, we've

   7     committed to put up witnesses for, I believe, around

   8     62 topics for each plaintiff.

   9               THE COURT:     Okay.

  10               MS. TABAKSBLAT:        So we've taken on the

  11     burden to, you know, respond and prepare witnesses

  12     for similarly worded topics.

  13               THE COURT:     Right, but, you know, we need

  14     to get at how this witness is going to prepare him

  15     or herself to answer your questions.         And one way to

  16     do that is -- if you're talking about internal

  17     communications, then if the witness is shown a

  18     communication, then the witness, you know, can do

  19     his or her best to answer those questions.

  20               If the witness gets those in advance, the

  21     witness is going to be that much better prepared for

  22     any other context for the -- you know, for that

  23     particular document.

  24               But, you know, I get why the topics are so

  25     broad, but I also get why it's difficult to prepare
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   1     a witness for them.

   2               So, again, I don't have the topics.          I

   3     mean, if you want me to mark them up, you're not

   4     going to like -- nobody's going to like what I do

   5     with them, so I -- I'm not sure --

   6               You know, I assume Jefferies -- Mr. Balber,

   7     you're not opposed to putting up a 30(b)(6) witness

   8     altogether, right?

   9               MR. BALBER:     No.     And, in fact, I think

  10     we've agreed to nine or ten topics out of the 50.

  11               THE COURT:     Right.

  12               MR. BALBER:     And that's another universe

  13     that we believe we can reach agreement on.

  14               THE COURT:     Okay.

  15               MR. BALBER:     But all communications is

  16     not -- that's not feasible.

  17               THE COURT:     Okay.     But -- and, again -- I'm

  18     sorry, I didn't write down what the two were that

  19     you just read, Mr. Balber, but --

  20               MR. BALBER:     Well, I read 1 and 3, Your

  21     Honor.

  22               THE COURT:     But in terms of the

  23     relationship with AMBAC, for example, just as a

  24     General matter, someone will be able to talk about

  25     how Jefferies came to work with AMBAC in the first
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   1     instance and their relationship and what they did

   2     with respect to the MHPI projects in particular,

   3     right?

   4                MR. BALBER:    That's a simple one because we

   5     had absolutely no dealings with AMBAC.

   6                THE COURT:    Okay.

   7                MR. BALBER:    As plaintiffs well know, the

   8     two deals that Jefferies did --

   9                THE COURT:    Right.

  10                MR. BALBER:    -- were not credit enhanced by

  11     AMBAC --

  12                THE COURT:    Okay.

  13                MR. BALBER:    -- so that's a null set.

  14                THE COURT:    Okay.

  15                MR. BALBER:    Yes, I can have somebody

  16     testify to that.

  17                THE COURT:    Okay.    And they -- I was trying

  18     to remember how many.       I thought it was only two or

  19     three that Jefferies was involved in, but -- and so,

  20     I guess, to step back, what is it that the

  21     plaintiff -- for the topics that remain in dispute

  22     then, what is it that the plaintiffs categorically

  23     are trying to get from Jefferies that's not already

  24     covered by all the other topics?

  25                MS. McAFFERTY:     So, Your Honor, many of the
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   1     topics are still in dispute and one of the critical

   2     issues for the plaintiffs is Jefferies' objection to

   3     put up a witness to testify about anything that

   4     relates to the successor-liability issue.

   5               In particular, Topic 32 is still objected

   6     to by the Jefferies defendants.        And this one is a

   7     critical topic specifically targeted to Jefferies'

   8     purchase of Capmark's MHPI business, including the

   9     decision to acquire the MHPI business, due diligence

  10     of the Capmark business, due diligence of the

  11     Capmark MHPI loan portfolio, the Jefferies new

  12     business approval submission submitted for the

  13     Capmark MHPI business, and any negotiation with Ray

  14     and Capmark regarding the terms of that acquisition.

  15               That's an incredibly --

  16               THE COURT:     Sure.

  17               MS. McAFFERTY:      -- important topic to

  18     establish success liability, and we still have not

  19     been able to reach an agreement on that topic.

  20               THE COURT:     Okay.

  21               MS. McAFFERTY:      And additionally, with

  22     respect to Topic 2, which Mr. Balber highlighted in

  23     our meet-and-confer, we, you know, requested that

  24     the defendants would commit to not object to

  25     documents that would be introduced at the 30(b)(6)
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   1     to the extent that we had not sent them previously.

   2     And we could not reach an agreement on that as well.

   3                 THE COURT:    Okay.     I'm sorry.   So your

   4     proposal was -- with the documents is what?

   5                 MS. McAFFERTY:    In terms of if we were not

   6     to provide the communications ahead of time --

   7                 THE COURT:    I see.

   8                 MS. McAFFERTY:    -- we wanted to ensure that

   9     there wouldn't be an objection to the document being

  10     presented to the witness.          And we couldn't reach

  11     agreement on that as well.

  12                 THE COURT:    Okay.     Okay.

  13                 Mr. Balber, so let's start with the

  14     Capmark.     So, surely, someone will testify about how

  15     that transaction came about and the due diligence

  16     that was done.     Like, what -- what's the --

  17                 MR. BALBER:    That one, Judge --

  18                 THE COURT:    Okay.

  19                 MR. BALBER:    -- this is Number 32.      The

  20     topic as stated is "Jefferies' Purchase of Capmark's

  21     MHPI Business."     We did not purchase Capmark's MHPI

  22     business.

  23                 THE COURT:    Okay.

  24                 MR. BALBER:    So that's the issue.

  25                 THE COURT:    Okay.
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   1                MR. BALBER:    So if the topic were restated

   2     to be --

   3                THE COURT:    Okay.

   4                MR. BALBER:    -- Jefferies' purchase of the

   5     servicing assets from the Bankruptcy Court

   6     proceeding in the 363 sale, no problem.

   7                THE COURT:    Okay.    Can it say that?

   8                MS. McAFFERTY:     Yes, we can.

   9                THE COURT:    Okay.

  10                MS. McAFFERTY:     I'm not a (inaudible).

  11                THE COURT:    See --

  12                MR. BALBER:    Well, this -- yeah, you know

  13     what --

  14                THE COURT:    Christmas miracle.

  15                MR. BALBER:    If you've got five hours for a

  16     meet-and-confer, we can have you join next time,

  17     Judge.

  18                THE COURT:    I've done it.     I've done it

  19     once --

  20                MR. BALBER:    Yeah.

  21                THE COURT:    -- and I barely survived, so --

  22                MR. BALBER:    Yeah.

  23                THE COURT:    -- I'm trying to avoid doing it

  24     for you, but I don't have a lot of hope.          But in any

  25     event --
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   1               MR. BALBER:     That one's easy.

   2               THE COURT:     All right.    Okay.

   3               So -- well, just what -- the verbiage that

   4     Mr. Balber used about tailoring it to the servicing

   5     assets bought through the 363 sale, there doesn't

   6     seem to be any dispute about that, so that crosses

   7     one off the list.

   8               MS. McAFFERTY:      And with respect to the

   9     ongoing disputes, we're willing to make an

  10     additional submission --

  11               THE COURT:     Okay.

  12               MS. McAFFERTY:      -- going through the

  13     specific topics at dispute.       That would expedite

  14     many things.

  15               THE COURT:     What I would rather you do is

  16     you try one more time.      And -- you know, and then if

  17     there are any that remain in dispute, I'll look at

  18     them.   And if I think we need to talk about them,

  19     otherwise, I'll just mark them up so that you can

  20     get this done because, I mean, we're creeping up --

  21     before we know it, we're going to be in January, and

  22     we have a February 15th cut off.        And I have a

  23     feeling I know where -- what's coming.

  24               But, in any event, I -- I'm going to ask

  25     you both to meet and confer one more time.          And if
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   1     it's a definitional issue, that should be easy to

   2     resolve.    If it's a -- you know, sort of a

   3     predecessor, you know, precursor question about what

   4     Jefferies' role was, you know, obviously without

   5     prejudice to plaintiffs' objection -- you know to

   6     plaintiffs' objection to how Jefferies is

   7     characterizing itself, fine.        But if it gets us to,

   8     actually, the Jefferies' witnesses sitting down for

   9     their 30(b)(6) deposition and getting documents in

  10     front of them, that's what we need to do, is -- it's

  11     not spin our wheels on, you know, how many topics

  12     can we excruciatingly torture each other with.

  13     Okay.

  14                All right.    So meet and confer one more

  15     time, and we'll talk at the end about submissions on

  16     that.   Okay.

  17                All right.    Plaintiffs' 30(b)(6)

  18     objections.     So I thought we had dealt with this,

  19     and I had directed, as the plaintiffs quote in their

  20     letter, for the plaintiffs to look at the interest

  21     rates and put them in a spreadsheet.

  22                That hasn't happened?

  23                MR. BALBER:    No, Judge.

  24                THE COURT:    Okay.

  25                MS. McAFFERTY:     Your Honor, with respect to
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   1     that, it was our understanding that the order from

   2     the last hearing was to continue to discuss that

   3     topic and how we might be able to provide that

   4     information --

   5               THE COURT:     Yeah.

   6               MS. McAFFERTY:      -- to the defendants.

   7               THE COURT:     Okay, well, quote, "Look up

   8     those interest rates and put them in a spreadsheet."

   9     That's pretty clear to me, but -- I don't

  10     understand.    You know, at a minimum, I thought you

  11     were willing to do that.         I thought I had your

  12     agreement to do that, so...

  13               MS. McAFFERTY:      So after the conference, we

  14     received a letter from the Jefferies defendants with

  15     respect to that topic --

  16               THE COURT:     Okay.

  17               MS. McAFFERTY:      -- on interest rates, and

  18     they're now seeking additional information with

  19     respect to each of those projects, including the

  20     date of closing --

  21               THE COURT:     Right.

  22               MS. McAFFERTY:      -- initial sale of related

  23     securities, coupon rate for securities and yield

  24     rate for securities.      And so that, you know, goes

  25     above and beyond just identifying the interest rates
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   1     for the projects.

   2               Moreover, it -- it's still the plaintiffs'

   3     position that these financings were entirely

   4     different and are not relevant for the purposes of

   5     assessing the market rate that -- as the plaintiffs

   6     have alleged it.

   7               THE COURT:     Okay.   Well, I already

   8     overruled you on that, and I ordered you to produce

   9     something and you haven't, and you didn't move to

  10     reconsider my ruling on that, so I'm -- for a second

  11     time -- and we'll get to my feeling about motions

  12     for reconsideration in a few minutes.         But you need

  13     to produce the spreadsheet.

  14               Mr. Balber?

  15               MR. BALBER:     And we're not asking for any

  16     additional information.

  17               THE COURT:     Okay.   Okay.

  18               MR. BALBER:     We just want to know the name

  19     of the project, obviously --

  20               THE COURT:     Yeah.

  21               MR. BALBER:     -- the date and the interest

  22     rate.

  23               THE COURT:     Okay.   Yep.    That -- that's all

  24     I'm asking.    Okay.

  25               MS. McAFFERTY:      Can I just, if I could, ask
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   1     a clarifying question.

   2               Is it for the 19 projects that the

   3     defendants have specifically identified?

   4               THE COURT:     Mr. Balber?

   5               MR. BALBER:     I'm going to do my quick math.

   6               Yeah, I believe there's 19 that we've

   7     identified.    I mean, if there are others that we

   8     don't know about, I don't see why those wouldn't be

   9     included in the same universe.

  10               THE COURT:     Well, I -- let me get you what

  11     I think I can get you, and you're going to have lots

  12     of time in depositions, and I'm sure there's going

  13     to be a lot of follow-up requests after the

  14     depositions.

  15               So the -- a spreadsheet of the date, the

  16     project, and the interest rate for the 19 projects.

  17               MR. BALBER:     I count 18, but --

  18               THE COURT:     Okay.   All right.

  19               MR. BALBER:     If I was good at math, I

  20     wouldn't --

  21               THE COURT:     18 or 19, and you can -- you

  22     guys can work that out.       Okay?

  23               All right.     Thank you.

  24               MS. McAFFERTY:      Thank you, Your Honor.

  25               THE COURT:     So I think that's it on the
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   1     plaintiffs' Rule 30 (b)(6) depositions, right?

   2                 Anything -- anybody else?      Okay.

   3                 And then AMBAC's request for production

   4     from the private litigation; who's going to take

   5     that?

   6                 MR. JONES:     Yes, Your Honor.    Mr. Baldoni

   7     will address it.

   8                 THE COURT:     Okay.   Go ahead.

   9                 MR. BALDONI:     Thank you, Your Honor.      We're

  10     being quite targeted at this point with these

  11     requests.

  12                 As Your Honor directed, first plaintiffs

  13     produced productions from some regulatory and

  14     government investigations.         We assessed those.     We

  15     looked at them to see if anything was missing or if

  16     that was enough.     And as it turned out -- excuse

  17     me -- upon our careful review, there were some

  18     significant gaps as to particular projects and

  19     plaintiffs and developers -- excuse me -- so we

  20     assessed low-burden ways to fill those gaps.            And

  21     civil litigations was a way to do that because

  22     documents have already been produced in certain

  23     civil litigations.

  24                 We looked for cases where it appears that

  25     productions have already been made, the same issues
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   1     are being litigated in those private litigations as

   2     are being litigated here, and they are projects that

   3     are the gaps where they haven't -- plaintiffs here

   4     haven't produced unclean-hands documents in any

   5     meaningful way.

   6               So we honed in on two particular cases, two

   7     particular projects.      So that's the D'Antonio

   8     (phonetic) case about Monterey Bay, and Addi

   9     (phonetic) about Fort Meade.

  10               Notably, Balfour Beatty is the developer

  11     that pled guilty to defrauding the U.S. government

  12     about a year ago.      Balfour Beatty is associated with

  13     eight projects.

  14               The two cases that we're talking about here

  15     are not Balfour Beatty projects.        They're projects

  16     associated with some of the other developers.           And,

  17     you know, we did a --

  18               THE COURT:     Other developers in this case?

  19               MR. BALDONI:     Other developers in this

  20     case.

  21               THE COURT:     Okay.

  22               MR. BALDONI:     Particularly, Corvus,

  23     Michaels and -- so the Monterey Bay case was started

  24     as Clark and is now Michaels, and then the Addi case

  25     is Corvias.
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   1                 THE COURT:     Okay.

   2                 MR. BALDONI:     So it's all three of the

   3     other developers in this.

   4                 THE COURT:     So what are -- what -- in the

   5     Monterey and the Meade cases, what are -- what are

   6     the nature of the claim?           Who are the plaintiffs in

   7     those cases, and what are the nature of the claims?

   8                 MR. BALDONI:     The nature of the claims are

   9     very similar to what's covered by our unclean-hands

  10     defense, inadequate maintenance of the projects,

  11     misrepresentations about the maintenance of the

  12     projects.     It's a very overlapping set of facts as

  13     to what's alleged in our unclean-hands defense.

  14                 And, again, the relevance is the same as

  15     for, you know, the Balfour Beatty documents that

  16     were produced earlier, which is that the

  17     mismanagement of the projects, the failure to

  18     maintain the projects, that impairs AMBAC security

  19     interests.

  20                 I know Jefferies alleges in their defense

  21     that they may have asked for a higher interest rate

  22     had they known about these failures of management

  23     and maintenance, so there's a significant overlap.

  24     There's --

  25                 THE COURT:     What's the status of those two
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   1     cases?

   2                MR. BALDONI:     So the -- let me -- one of

   3     them -- let me just make sure I get the dates right.

   4     So the Addi case involving Corvias, that was

   5     dismissed based on a settlement in, I believe, May

   6     of this year, of 2022.

   7                THE COURT:     Okay.

   8                MR. BALDONI:     And there -- on the public

   9     docket, there's a number of letters about the status

  10     of document productions indicating that productions

  11     were made.    And it seems, based on public

  12     information, that they would be relevant to our case

  13     here.    So that case settled just about five or six

  14     months after the Balfour Beatty guilty plea.

  15                And the other case, the D'Antonio case

  16     involving Monterey, that one -- document

  17     discovery -- at least according to the public

  18     docket -- ended last month.       I believe it was

  19     November 7th.

  20                THE COURT:     Okay.

  21                MR. BALDONI:     So, again, we have reason to

  22     believe that documents were produced in that case,

  23     and they would be relevant here.        And as Your Honor

  24     has indicated earlier, we think reproducing

  25     documents that were produced in another litigation
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   1     is a fairly low-burden way for us to get -- fill in

   2     some of these gaps about unclean-hands documents.

   3               THE COURT:     Right, but what I'm not

   4     understanding -- I understand that there are gaps in

   5     the other unclean-hands productions that you've

   6     gotten, but why does that matter, you know, that

   7     these two are not there?

   8               In other words, you should have plenty to

   9     prove the unclean-hands defense, I would think, from

  10     all the government investigations.         Is it -- is

  11     there any reason to believe that what's in these

  12     two, with these two projects, was any different than

  13     any of the others?

  14               MR. BALDONI:     Well, these are different

  15     developers, and they have different people managing

  16     the projects.     It's not the same cast of characters

  17     across each project.      And if, say, there's a motion

  18     to sever pending, if the case is broken up into

  19     different cases, we'll have the unclean-hands

  20     defense in different cases.

  21               THE COURT:     Right.

  22               MR. BALDONI:     Same thing if Balfour Beatty

  23     decides we're going to, you know, settle our

  24     plaintiffs --

  25               THE COURT:     Right.
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   1                 MR. BALDONI:     -- but then the other

   2     plaintiffs go on, we would want to assert the

   3     unclean-hands defense as to each of the plaintiffs.

   4                 THE COURT:     Okay.     Okay.   Ms. Tabaksblat or

   5     Ms. McCafferty?     Okay.

   6                 MS. TABAKSBLAT:        So, Your Honor, I heard

   7     counsel talk about gaps in the production and the

   8     relevance of these documents, but what hasn't been

   9     set forth in any of the meet-and-confers -- and

  10     we've had several of them -- or in any of the

  11     letters that were sent to the Court, are what these

  12     gaps are.

  13                 What we've produced -- and we've obviously

  14     spent a lot of time -- the Court's time and

  15     attention on this issue -- are presentations for all

  16     the developers, to the extent that they existed,

  17     that summarized these conditions and these issues.

  18                 So in the context of Corvias, to the extent

  19     that there would be an order to sever the claims, or

  20     there would be a settlement where only certain

  21     parties were left in the case, we have produced

  22     summary presentations, or presentations that were

  23     made.

  24                 In addition to the presentations, there

  25     were also -- I believe it was quarterly reporting
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   1     that was done concerning the condition of these

   2     projects, and those were turned over as well.             And

   3     so --

   4                 THE COURT:   Including the Meade and

   5     the Monterey projects were included?

   6                 MS. TABAKSBLAT:     These were Corvias, so

   7     specifically with respect to Meade.

   8                 With respect to Monterey, I believe Clark

   9     did make a production.        I believe that was limited

  10     to -- and that would have come from the third party,

  11     Clark.     I believe that was limited to a summary --

  12     to presentations to the government, as opposed to

  13     these quarterly filings.        And I don't know if they

  14     existed.     I know that they did in the case of

  15     Corvias.

  16                 But so what I haven't heard is what the

  17     relevance of these are and how, based on that

  18     relevance -- if it's relevant, what the gaps are,

  19     and how, based on that, those gaps, what the

  20     relevance is at all.      But I think that is very

  21     critical, Your Honor, because, again, I'm not

  22     counsel in any of those cases.        I have no idea.

  23                 I don't have access to those documents.

  24     They are not within my custody and control.           I

  25     imagine there are thousands, if not tens or hundreds
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   1     of thousands of documents.       And it seems to me that

   2     even if there is some relevance here, which I quite

   3     honestly question, and Your Honor has spent a lot of

   4     time --

   5               THE COURT:     I've also already overruled you

   6     on that, too, so we're not going to re-litigate

   7     that.

   8               MS. TABAKSBLAT:      Well, we didn't -- no,

   9     Your Honor, if I -- if I remember correctly, at the

  10     February 2022 hearing, you specifically excluded

  11     private litigations from the production.

  12               THE COURT:     I said we would reconsider it

  13     after we saw which -- what was produced from the

  14     government.     And so what I hear Mr. Baldoni saying

  15     is, okay, we have all that, but what's -- we don't

  16     have anything that talks about Meade and Monterey

  17     specifically.

  18               MS. TABAKSBLAT:      Well, he didn't say that

  19     we don't have anything that talks about Meade and

  20     Monterey specifically.      He said we have gaps.       We

  21     certainly have produced documents with respect to

  22     Meade specifically, and I believe with respect to

  23     Monterey as well, but for sure, with respect to

  24     Meade.

  25               THE COURT:     And unclean-hands documents as
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   1     to those two?     Okay.

   2                MS. TABAKSBLAT:        We've produced government

   3     presentations for the Corvias projects, as well as

   4     these quarterly reports for Corvias.

   5                THE COURT:     Okay.

   6                MS. TABAKSBLAT:        And so what is missing

   7     from what Mr. Baldoni just articulated is what these

   8     gaps are specifically that he's claiming are

   9     missing.

  10                THE COURT:     Mr. Baldoni?

  11                MR. BALDONI:     Yes.     Ms. Tabaksblat said "to

  12     the extent they exist," and that's kind of the whole

  13     meat of the problem.       We looked at these documents

  14     that were produced.       There are some summary

  15     documents about Meade, for example, but they're not

  16     summary documents about the conditions of the

  17     project that we have for Balfour Beatty projects,

  18     for example.

  19                For Meade, it's more like a summary of the

  20     project as a whole, and there's an offhand mention

  21     of, you know, there's a maintenance obligation or

  22     issue or something like that.          We are lacking the

  23     sort of summary documents analyzing the maintenance

  24     issues with the projects.          We're missing the sorts

  25     of investigatory documents about the allegations of
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   1     misrepresentations about the maintenance issues.

   2               It's hard to prove a negative, Your Honor.

   3     We can go through, you know, document by document,

   4     some of what we have in terms of unclean hands from

   5     Meade and Monterey, but the bottom line of it is we

   6     don't have meaningful productions for the conditions

   7     of the -- these two projects and alleged

   8     misrepresentations about the maintenance of these

   9     projects for these two.

  10               And, you know, like I said, we can go

  11     through document by document on what we have and why

  12     that's enough, but this is the sort of shortcut that

  13     we can use to not spend a lot of time on this.

  14               THE COURT:     Well, what I don't understand

  15     is how this hindered you at all.        And, you know,

  16     we're at the stage of taking depositions.          So why do

  17     you need this?

  18               MR. BALDONI:     We want to be able to --

  19     well, this matters for summary judgment as -- and

  20     trial as well, Your Honor.       But for -- we want to

  21     confront a witness with, you knew that this was an

  22     incorrect statement about the state of maintenance

  23     of the projects.     You knew that this maintenance

  24     request had not actually been done; right.          You knew

  25     that these mold issues were so -- for example, a
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   1     summary document might say, of the 500 houses, 400

   2     of them have severe mold problems that need to be

   3     addressed.

   4                We don't have those sort of summary

   5     documents about the condition of the projects.            And

   6     those are the sort of documents that we could put in

   7     front of the witness who was in charge of Meade and

   8     say, you were aware of this, right?         You weren't

   9     putting funds towards this, right?         And we could

  10     show that the misconduct there was enough to support

  11     our unclean-hands defense for that particular

  12     project.

  13                THE COURT:     All right.   So what -- when you

  14     say "summary documents," what -- the summary

  15     documents that you have for the other projects are

  16     summaries given to the government that talk about

  17     the housing conditions and complaints about the

  18     housing or what?

  19                MR. BALDONI:     Well, there's a mix.      For the

  20     Balfour Beatty projects, they got into quite a bit

  21     of detail because they were trying to avoid pleading

  22     guilty, as they ultimately did --

  23                THE COURT:     Right.

  24                MR. BALDONI:     -- about the extent of their

  25     misconduct, the pervasiveness of the fraud; that
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   1     sort of thing.     It's hard to know what's likely in

   2     the D'Antonio and Addi productions without seeing

   3     them, but presumably the document requests in those

   4     cases were about the same sorts of questions that

   5     we're asking here, which is, give us any documents

   6     that include an overview of the maintenance issues

   7     of these projects, any summaries of the complaints

   8     about conditions at the projects, any -- for

   9     misrepresentations, it's probably more specific, any

  10     misrepresentation.

  11               To some degree, we know that documents like

  12     this were requested in the litigations, just based

  13     on public information on the docket.          For others,

  14     you know, it's kind of an inference based on the

  15     allegations in the underlying complaints.

  16               THE COURT:     Right, but Corvias and

  17     Michael's weren't, as far as we know, investigated

  18     criminally, right?

  19               MR. BALDONI:     I believe Corvias was to some

  20     degree.   I don't want to get that wrong, so I don't

  21     want to say that for sure, but --

  22               THE COURT:     Okay.   All right.     Well -- but

  23     unlike Balfour Beatty, they didn't plead guilty;

  24     let's put it that way, right?

  25               MR. BALDONI:     Yes, Your Honor.
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   1               THE COURT:     Okay.

   2               All right.     Well, Ms. Tabaksblat, would you

   3     be willing to inquire of whoever represented the

   4     plaintiffs in the Monterey and the Meade cases

   5     whether there's, you know, any summary documents

   6     about the conditions and the complaints about the

   7     conditions that exist that have been produced?

   8               MS. TABAKSBLAT:        Yes.   And just to clarify,

   9     Your Honor, are you asking if there are summary

  10     documents made -- to the extent that there were

  11     summary documents made to the government, those were

  12     produced --

  13               THE COURT:     No, produced in the civil

  14     litigation that weren't otherwise produced to the

  15     government.

  16               MS. TABAKSBLAT:        We will inquire about

  17     that.

  18               THE COURT:     Okay.     All right.   So if you

  19     could do that and notify Mr. Baldoni, we'll talk

  20     about a deadline for that at the end, I guess,

  21     because we have some other things to schedule.

  22               All right.     So, Mr. Baldoni, just so I sort

  23     of document this correctly, summary documents that

  24     talk about the conditions of the projects and

  25     maintenance issues?
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   1               MR. BALDONI:     And also any

   2     misrepresentations or allegations of fraud with

   3     respect to the maintenance of the projects and the

   4     conditions.

   5               THE COURT:     Well, that would be in the

   6     pleadings.     I -- so what I'm looking for is --

   7     that's going not in the direction that I want to go

   8     in.   I want to talk about what the facts are.          I

   9     don't want to talk about what the allegations were.

  10     So if there are summary documents about the

  11     conditions or dealing with maintenance issues,

  12     that's what I'm focused on; is that fair?

  13               MR. BALDONI:     Yes.

  14               THE COURT:     Okay.    Okay.   And for those

  15     two, for Monterey and Meade, is there a particular

  16     time period?

  17               MR. BALDONI:     We would ask that it be

  18     coextensive with these two cases.

  19               THE COURT:     Okay.

  20               MR. BALDONI:     I believe -- well, actually,

  21     Your Honor, I believe Meade was closed in 2002 and

  22     Monterey was closed in 2003, so we would want

  23     information around the time of closing.          And based

  24     on the nature of the unclean-hands defense, we do

  25     need documents kind of on an ongoing basis.           So this
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   1     is quite a long time period, but that's what's

   2     necessitated by the unclean-hands defense.

   3               THE COURT:     Okay.     All right.   Okay.

   4               Anything else on that, Mr. Baldoni?

   5               MR. BALDONI:     One note in terms of custody

   6     and control for the Monterey Bay case, and I believe

   7     for -- well, for Monterey Bay, it is a plaintiff in

   8     this case, so --

   9               THE COURT:     Right.

  10               MR. BALDONI:     -- it doesn't make sense to

  11     say there's no custody or control.

  12               For the Addi case, Corvias is a defendant,

  13     which is a developer in this case.         So, again, I

  14     don't think there's any issue with custody and

  15     control of the relevant documents.

  16               THE COURT:     Okay.     I don't think so.

  17               So, Ms. Tabaksblat, you'll investigate that

  18     for us.   Thank you.     Okay.

  19               I think those are all the issues that were

  20     listed in your letter, Ms. Tabaksblat.          Anything

  21     else you wanted to raise?

  22               MS. TABAKSBLAT:        The only other thing is

  23     that Your Honor alluded to our motion for

  24     reconsideration.     It's fully briefed before --

  25               THE COURT:     I'm going to get to that at the
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   1     end.     Yep.   Okay.

   2                 All right.      So then I have -- I guess,

   3     Mr. Balber, we will take your letter next.            Any

   4     issues you've raised that we haven't already

   5     covered?

   6                 MR. BALBER:      No, Your Honor.

   7                 THE COURT:      Okay.

   8                 MR. BALBER:      The only issue was the

   9     30(b)(6) issue.         I think we need a date for the

  10     provision of the interest rate information we talked

  11     about.

  12                 THE COURT:      Yeah.   I was going to do -- I

  13     was going to do all the dates at the end, if that's

  14     okay.

  15                 MR. BALBER:      Then we're good, Your Honor.

  16                 THE COURT:      Okay.   All right.   Thank you.

  17                 Okay, Mr. Ray, any other issues in your

  18     letter?

  19                 MS. KIRSHNER:      Good afternoon, Your Honor.

  20     It's nice to be here.         I am here for the first time.

  21                 THE COURT:      Good.   Welcome.

  22                 MS. KIRSHNER:      We -- so the first issue we

  23     have in our letter is the common-interest privilege

  24     log issue.

  25                 THE COURT:      That's going to be next after
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   1     we go through everything, yeah.

   2                 MS. KIRSHNER:     Okay.    So then the only

   3     other issue we had was our request for the extension

   4     of the contention (inaudible).

   5                 So our request there is -- the deadline is

   6     December 27th for that, and the request-to-admit

   7     deadline is January 23rd.          So given where we are in

   8     terms of depositions, as of right now 30(b)(6)

   9     depositions have taken place, we would request that

  10     that contention interrogatory deadline be extended

  11     to align with the request-to-admit deadline.

  12                 THE COURT:     Yeah.

  13                 MS. KIRSHNER:     Previously, Your Honor's

  14     scheduling order (inaudible) interim deadline.              The

  15     most recent order did, which was when (inaudible)

  16     formally requested it, but the parties were all --

  17                 THE COURT:     Okay.

  18                 MS. KIRSHNER:     -- (inaudible) to that.

  19                 THE COURT:     So January 23rd would be the

  20     new deadline.     Okay.

  21                 Agreement?     Everybody's nodding.     Okay.

  22     All right.     So be it.     That was an easy one.

  23                 MS. KIRSHNER:     And then there is the common

  24     interest.

  25                 THE COURT:     Yeah.    Yeah.   I'm trying to get
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   1     through everything, sort of the housekeeping stuff,

   2     and then we'll get to the really meaty stuff.           Okay.

   3     Thank you, Ms. Kirshner.

   4                All right.     Mr. Jones or Mr. Baldoni,

   5     anything else in your letter?

   6                MR. BALDONI:     Yes, Your Honor, we have the

   7     issue to preclude plaintiffs' new categories of

   8     damages.

   9                THE COURT:     Yep.

  10                MR. BALDONI:     So the -- you know, the short

  11     of it here is that plaintiffs made their initial

  12     disclosures about damages in 2018.         They

  13     supplemented them once, which was also in 2018.

  14     They have not supplemented their initial disclosures

  15     about damages since.

  16                In September of 2022, they disclosed three

  17     entirely new categories of damages for the first

  18     time in a response to a Jefferies interrogatory.

  19     But, like I said, they have not updated their

  20     Rule 26 disclosures.

  21                THE COURT:     We're still in fact discovery,

  22     right?

  23                MR. BALBER:     Yes.

  24                THE COURT:     Okay.   So it's not really ripe

  25     yet.
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   1               MR. BALDONI:     I believe it is, Your Honor.

   2     I don't think Rule 37 has a deadline that the, you

   3     know, failure to disclose has to happen after the

   4     close of fact discovery.       It requires, under

   5     Rule 26, timely supplementation of damages,

   6     computations and categories.        We -- our position is

   7     that's not been done.

   8               In this case, it took literally years to

   9     negotiate the scope of document productions.           We

  10     litigated before Your Honor the number of

  11     depositions, given the scope of the case, in terms

  12     of subject matter and, you know, size of the case in

  13     terms of money.

  14               So we think it is, right now, plaintiffs

  15     have failed to timely disclose these new categories

  16     of damages.    We don't think that there's any reason

  17     for them to have done that.

  18               These damages theories are based on -- as

  19     far as we can tell -- documents that were produced

  20     many years ago, and they open up entire new subject

  21     matters -- subject-matter areas of the case.

  22     They're each about a market for a financial product

  23     15 to 20 years ago that doesn't so much as appear in

  24     the complaint.

  25               THE COURT:     So why isn't this a summary
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   1     judgment issue?

   2                MR. BALDONI:     There are cases holding that

   3     this is not a summary judgment issue because this is

   4     under Rule 37.     Rule 37 is about preclusion of

   5     things that have not been adequately disclosed under

   6     Rule 26.    I can probably get you a cite, if you need

   7     it --

   8                THE COURT:     All right.

   9                MR. BALDONI:     -- but the -- Rule 37 is

  10     designed specifically to incentivize plaintiffs to

  11     disclose their damages theories and computations

  12     early in the case so that they can be the subject of

  13     fact discovery so that we can ask for documents

  14     about them, so that we can take depositions about

  15     them.   Here we are, you know, five years into the

  16     case with the --

  17                THE COURT:     We -- and we haven't finished

  18     depositions yet.

  19                MR. BALDONI:     Right.     So opening three new

  20     subject-matter areas of the case where plaintiffs

  21     said that it took their experts months to figure out

  22     these new theories, we'll have to do the same.           And

  23     then we will have to add deponents about these

  24     topics to the list.       We'll have to go to third

  25     parties about these three new financial markets from
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   1     20 years ago and say, you know, Third Party

   2     Number 1, how did this market work?         Was Plaintiff

   3     actually ripped off in this market?         Theory Number

   4     2, was Plaintiff actually ripped off in this market?

   5               These are all things that are not at all in

   6     plaintiffs' complaint.      And I agree with Your Honor

   7     that if these theories are not precluded now, we

   8     will likely -- or we may, I suppose, move for

   9     summary judgment about them.        But Rule 37 is

  10     designed precisely to eliminate that waste and cut

  11     the theories off early because they failed to

  12     disclose them.

  13               THE COURT:     Ms. Tabaksblat or

  14     Ms. McCafferty?

  15               MS. TABAKSBLAT:      Thank you, Your Honor.

  16               So we think Your Honor is exactly correct.

  17     We -- first of all, when Your Honor addressed the

  18     disclosure requirements for damages at the September

  19     2021 hearing, you said, I mean, they're called

  20     initial disclosures for a reason.         It's not the be

  21     all and end all.

  22               These new damage theories -- or not even

  23     new damage theories, but these extensions of damage

  24     theories that have been previously disclosed are

  25     based entirely on documents we received from various
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   1     parties, both the defendants, as well as third

   2     parties in discovery.      They were ascertained based

   3     on extensive review by our experts, not by lawyers

   4     or anyone who would have been able to ascertain

   5     them.     They were disclosed in September of 2022,

   6     which, even before the discovery deadline was

   7     extended, was months before the existing deadline;

   8     and, now, with the new extension, is close to six

   9     months.     They were disclosed before a single

  10     deposition in this case was taken, and so there's

  11     ample time.

  12                 And the only other thing I'll say on this

  13     is that the three cases that AMBAC cites in their

  14     letter -- obviously, it's not on a full record, but

  15     those three cases all involve a disclosure either

  16     after the close of fact discovery or within a week

  17     or two before the close of fact discovery.          And the

  18     facts here are just clearly distinguishable.

  19                 THE COURT:   Well, to the extent that AMBAC

  20     is asking permission to make a 37(c)(1) sanctions

  21     motion now, I'm going to deny that request.           And let

  22     me just say this, as to any other discovery

  23     sanctions motion, save it until the end of fact

  24     discovery.     I have so much on my plate with you

  25     guys, it really is not efficient when you raise
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   1     issues that are not ripe and that can be left until

   2     the end.

   3                You know, you can -- you'll have to gamble

   4     on this, Mr. Baldoni.      Either you decide not to ask

   5     questions or you do.      But at this point, it is not a

   6     good use of the parties' time or my time to be

   7     dealing with sanctions motions while discovery is

   8     still pending.

   9                So the request to move for sanctions at

  10     this time is denied without prejudice.          And when --

  11     once we -- if we ever get to the end of fact

  12     discovery, we'll talk about what anybody wants to

  13     seek sanctions against anybody else about.

  14                And if you want an example of how we did

  15     this, I did it in the Curren (phonetic) case, we

  16     waited until the end and we dealt with it all at

  17     once.   So that's how we're going to do it here.

  18     Okay.

  19                Mr. Baldoni or Mr. Jones, any other issues,

  20     sort of conference-related issues, from AMBAC before

  21     we turn to privilege and the motion for

  22     reconsideration?

  23                MR. JONES:    So the one issue remaining from

  24     our letter is the Malvern subpoena.         I don't know if

  25     you want to discuss that now.
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   1                THE COURT:    Yep, we can do that.

   2                MR. JONES:    Ms. Williams will handle that.

   3                THE COURT:    Okay.   Very good.     Go ahead.

   4                MS. WILLIAMS:    Good afternoon, Your Honor.

   5                THE COURT:    Good afternoon.

   6                MS. WILLIAMS:    Your Honor, in February of

   7     this year, we subpoenaed Malvern Capital Partners on

   8     behalf of our client, AMBAC.        Malvern is a sole

   9     proprietorship; that is, its sole principal is

  10     Austin Repetto, who was the former VP of finance for

  11     GMH, now known in this case as Balfour Beatty

  12     Communities.

  13                And, Your Honor, we subpoenaed Malvern

  14     based on a -- or a response to interrogatories from

  15     plaintiffs identifying Malvern as their financial

  16     advisor.    We also identified documents that included

  17     Mr. Repetto, in his capacity as sole principal of

  18     Malvern, he was communicating with various

  19     representatives at BBC with regards to both

  20     plaintiff and non-plaintiff projects.

  21                So in response to our subpoena, Malvern's

  22     counsel objected, objected.       And several months

  23     later, we had a joint meet-and-confer with him.             In

  24     that meet-and-confer, Mr. Trachtenberg, Malvern's

  25     counsel, sort of took the position that he sees our
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   1     subpoena -- the document request included in our

   2     subpoena in two categories, documents relating to

   3     plaintiff projects and documents relating to

   4     non-plaintiff projects.

   5                 With respect to the plaintiff projects,

   6     Mr. Trachtenberg explained that his client didn't

   7     have any involvement with those plaintiff projects

   8     and, therefore, he wouldn't search for any

   9     responsive documents.       And he also took the position

  10     with respect to non-plaintiff projects that, you

  11     know, the only way he would move forward in terms of

  12     searching for documents that are responsive to our

  13     subpoena is if AMBAC agreed to pay both his legal

  14     fees, as well as any costs associated with complying

  15     with the subpoena.

  16                 Now, Your Honor, first, as an initial

  17     matter, there's an issue with Mr. Trachtenberg's

  18     categorization of our document request because it

  19     overlooks several categories of documents that are

  20     unrelated to either plaintiff or non-plaintiff

  21     projects.

  22                 THE COURT:   Okay.   So what are those

  23     documents, those other categories?

  24                 MS. WILLIAMS:    Sure, Your Honor, we've

  25     requested also -- with respect to RFP 39, we've
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   1     requested communications concerning GMAC, Jefferies

   2     and Dan Ray that they were partial to AMBAC with

   3     respect to credit enhancement.

   4               We've also requested with -- for -- and for

   5     RFP 49, we've also requested contracts, agreements,

   6     or engagement letters between Malvern and the

   7     developers.    And with respect to RFP 51, we've also

   8     requested documents considering the decision --

   9     plaintiffs' decision to join -- any of the

  10     plaintiffs' decision to join this action.

  11               THE COURT:     Okay.   So I get communications

  12     with GMAC, Jefferies and Ray.        Why do you need

  13     contracts with the developers and Malvern?

  14               MS. WILLIAMS:     Your Honor, because the -- I

  15     think the plaintiffs here, I'm -- it seems as though

  16     they were -- they didn't have their individual

  17     employees.    And so with respect to each of these

  18     plaintiffs, they were ran by developers, various

  19     different developers.      And so it's unclear to us who

  20     exactly -- which specific entity Malvern worked

  21     with, whether or not they worked with just BBC or

  22     any of the other developers -- Michaels or any of

  23     the other developers involved in this action.

  24     That's the reason why we requested engagement

  25     letters between Malvern and any of the other
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   1     developers.

   2                 THE COURT:   Okay.

   3                 MS. WILLIAMS:   Now, we did receive in our

   4     production one engagement letter between BBC and

   5     Malvern, but it's unclear to us the scope of work

   6     that Malvern has engaged in with respect to either

   7     just BBC or the other developers as well.

   8                 THE COURT:   Okay.    So then -- and you've

   9     taken Mr. Repetto's deposition?

  10                 MS. WILLIAMS:   We have taken Mr. Repetto's

  11     deposition, Your Honor.       And in that deposition, we

  12     were only limited to documents that we have received

  13     from BBC.

  14                 THE COURT:   Okay.

  15                 MS. WILLIAMS:   And during the course of the

  16     deposition, Mr. Repetto had difficulty recalling a

  17     lot of the discussions that he was included in.           So

  18     it only further underscores, Your Honor, the need

  19     for us to receive the documents that are in his

  20     possession.

  21                 THE COURT:   Right.

  22                 MS. WILLIAMS:   He was unable to recall very

  23     basic concepts.     For instance, he was unable to

  24     recall, you know, why he thought that -- during his

  25     time as the VP for finance, why he thought that GMAC
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   1     would have been -- was selected over other lenders

   2     or with respect to concepts relating -- excuse me --

   3     with respect to concepts like the rate lock and

   4     other issues in the case, Mr. Repetto was unable to

   5     recall, and --

   6                THE COURT:    Was he a decision-maker for any

   7     of the plaintiffs?

   8                MS. WILLIAMS:    It seems that way.

   9                THE COURT:    Okay.

  10                MS. WILLIAMS:    He -- in his role with -- at

  11     BBC, he is a -- he was the VP of finance.          And so he

  12     worked for those -- the plaintiff entity, I believe,

  13     Stewart, Bragg, Fort Bragg.       He worked on those

  14     transactions.     And in his role with BBC was -- I

  15     don't want to say he was the sole decision-maker,

  16     but he did play a role in the financing and

  17     debt-collection process of GMAC.

  18                THE COURT:    Okay.   So he was at BBC when he

  19     made that decision?

  20                MS. WILLIAMS:    Right.

  21                THE COURT:    So --

  22                MS. WILLIAMS:    GMH, formerly known as --

  23                THE COURT:    Okay.   So when did he set up

  24     Malvern?

  25                MS. WILLIAMS:    He set up Malvern in March
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   1     of 2005.

   2                 THE COURT:   Okay.   And so then what was --

   3     well, this kind of gets into some of the privilege

   4     issues that we're going to be talking about, but I

   5     guess, you know, we're sort of creeping into that,

   6     so I'll be giving everybody a chance to speak on

   7     this, but the plaintiffs say that Malvern was the

   8     functional equivalent of one of their employees and

   9     they're seeking privilege over those documents.

  10                 So I'm a little confused about -- well,

  11     for -- and just to confirm, there's nobody here from

  12     Malvern, right?

  13                 Nobody's speaking on Malvern's behalf.        So

  14     I don't know why Mr. Trachtenberg didn't come, but,

  15     anyway --

  16                 MS. WILLIAMS:   Your Honor, if I may --

  17                 THE COURT:   Yeah.

  18                 MS. WILLIAMS:   -- you know, we're confused

  19     as well because there seems to be a lot of

  20     inconsistencies between what Malvern is saying and

  21     what the plaintiffs are saying.

  22                 THE COURT:   Yeah.

  23                 MS. WILLIAMS:   For example, plaintiffs have

  24     identified Malvern as the financial advisor to the

  25     developers, and Malvern is saying they don't know
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   1     why plaintiffs have done that.

   2                THE COURT:    Right.

   3                MS. WILLIAMS:    Plaintiffs are now saying

   4     that Malvern was their employee --

   5                THE COURT:    Yeah.

   6                MS. WILLIAMS:    -- and Malvern is saying,

   7     Well, I didn't -- I've never done any work for

   8     plaintiffs.    So it is -- Your Honor, there seems to

   9     be a lot of inconsistencies between what the

  10     plaintiffs are saying and what Malvern is saying.

  11                THE COURT:    Okay.    So -- well, let me ask

  12     you this, with respect to -- just to -- I'm sorry to

  13     jump around, but the first -- first RFP that you

  14     mentioned was communications with GMAC, Jefferies

  15     and Ray.    So haven't Jefferies and Ray produced any

  16     communications with Mr. Repetto or Malvern or you --

  17     I thought you told me Request Number 39 was for

  18     communications with GMAC, Jefferies and Ray.           Maybe

  19     I miswrote down what you said.

  20                MS. WILLIAMS:    Right.    Any communications

  21     that would indicate that GMAC or Jefferies was

  22     somehow partial to AMBAC for -- with respect to

  23     credit enhancement.      Now, those communications could

  24     have been with plaintiffs.        They could have been

  25     internally within Mr. -- within Malvern's --
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   1     between -- I'm sorry.      Those communications could

   2     have been with plaintiffs.         They could have been

   3     with other individuals.         But we --

   4                THE COURT:    Sorry.     Who was partial to

   5     AMBAC?    The plaintiffs were partial to AMBAC or

   6     Mr. Repetto was partial to AMBAC?           I'm not

   7     following.

   8                MS. WILLIAMS:    If I may, Your Honor.

   9                THE COURT:    Yes.

  10                MS. WILLIAMS:    Any communications that

  11     suggest GMAC or Jefferies or Mr. Ray were partial to

  12     AMBAC with respect to credit enhancement.

  13                THE COURT:    I see.     Okay.    Okay.    But I

  14     guess we know -- we would know that from Jefferies

  15     or Ray though, right?

  16                MS. WILLIAMS:    Well, not necessarily, Your

  17     Honor, because if the plaintiffs are -- if

  18     Mr. Repetto was having communications with any other

  19     entity, or even plaintiffs concerning AMBAC or

  20     Jefferies or Mr. Ray or Cap -- GMAC being favored --

  21     favoring AMBAC over other monolines, those

  22     communications wouldn't necessarily be in Mr. Ray's

  23     or Jefferies' possession.

  24                THE COURT:    Okay.     But why does that

  25     matter?
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   1               Let's just say they were partial to AMBAC.

   2     I mean, I think Mr. Balber told me a little while

   3     ago he didn't have any -- Jefferies didn't have

   4     anything to do with AMBAC, so...

   5               MS. WILLIAMS:     Well, Capmark or GMAC, Your

   6     Honor, if Mr. -- if Mr. Repetto has communications

   7     during the time which he worked with Malvern --

   8     worked at Malvern concerning AMBAC or AMBAC being

   9     favored by the underwriter that was working on these

  10     transactions, we think that those communications are

  11     relevant and should be produced.

  12               We'd like to know what was the -- what was

  13     the thinking?     What was the -- his understanding of

  14     whether or not AMBAC was favored or AMBAC was

  15     subject to competitive bidding along with the other

  16     monolines for the role as credit enhancer.

  17               THE COURT:     Have you given Malvern,

  18     Mr. Trachtenberg, a proposed list of search terms

  19     that you want them to run on communications?

  20               MS. WILLIAMS:     Your Honor, we haven't

  21     even -- we weren't even able to sort of get there

  22     with Mr. Trachtenberg.      Mr. Trachtenberg, very early

  23     on, took the position that with respect to the

  24     plaintiff projects, his client had no involvement

  25     with the plaintiffs and, therefore, he's not even
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   1     going to look for documents.

   2               THE COURT:     Okay.

   3               MS. WILLIAMS:     The problem with that

   4     position, Your Honor --

   5               THE COURT:     It's opposite of what the

   6     plaintiffs have said, yeah.

   7               MS. WILLIAMS:     It's the opposite of what

   8     the plaintiffs have said.        But also, Your Honor,

   9     they've produced an engagement letter suggesting

  10     that, you know, he provided consulting services.

  11               But also, Your Honor, the -- there's

  12     overlap between the personnel for each of the -- for

  13     each of the various plaintiffs.        So the developers

  14     had about four or five personnel that worked on each

  15     of the plaintiff projects.        So communications and

  16     discussions and conversations relevant to one

  17     plaintiff, a non-plaintiff entity, could also be

  18     relevant to the plaintiff entities as well.

  19               THE COURT:     All right.    Well, let me say

  20     this, Malvern needs to produce some documents

  21     responsive to the subpoena.        I think the parties

  22     should meet and confer about what that should be.              I

  23     think Malvern's objection to producing anything at

  24     all ever is not well founded based on the

  25     information that's been given to me in this case,
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   1     particularly in connection with the privilege

   2     issues.

   3               So Malvern is not here today, so I'm not

   4     going to take time during this conference to tick

   5     through what those are, but my ruling is that

   6     Malvern needs to produce documents.

   7               I agree that the parties should meet and

   8     confer about minimizing the scope and the burden on

   9     somebody who's not a party to this case, so that --

  10     that was the reason for my suggestion that you

  11     propose search terms that will go at the

  12     communications that you want.        Contracts with the

  13     developers, that shouldn't be particularly

  14     burdensome.    Most, I would hope would be -- that

  15     shouldn't be a huge universe of what exists.           And

  16     51 -- I forget what 51 was.

  17               MS. WILLIAMS:     I'm not sure, Your Honor.

  18               THE COURT:     The plaintiffs' decision to

  19     join -- the plaintiffs' decision to join this

  20     action.   I mean, that's probably getting into the

  21     privilege issue, so I'm not going to push on that

  22     one.   But with respect to 39 and 49 that are the two

  23     that we've talked about today, I think those are

  24     reasonable requests.      I think the parties should

  25     meet and confer -- you and Mr. Trachtenberg should
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   1     meet and confer about a reasonable scope of search

   2     in response to those that would -- in response to

   3     those two requests that would get a reasonable

   4     amount of documents without imposing an undue burden

   5     on Malvern.      And let's see where you get to on that.

   6     Okay?

   7               MS. WILLIAMS:     Okay, Your Honor.      And with

   8     respect to documents involving the plaintiff

   9     projects --

  10               THE COURT:     Yeah.

  11               MS. WILLIAMS:     -- would it be okay for us

  12     to propose search terms as well?

  13               THE COURT:     Yeah.

  14               MS. WILLIAMS:     We're fine with working with

  15     Malvern to minimize any burden and happy to craft

  16     them.

  17               THE COURT:     Yes.    As far as the non-MHPR

  18     projects, I mean, we've fought a lot about that in

  19     this case.      I'm not inclined to push a non-party to

  20     produce documents that don't relate to the MHPR

  21     projects in this case.      But let's focus on the

  22     plaintiff projects, the communications, the

  23     contracts, and hopefully that comes up with a

  24     reasonable scope.

  25               Hi.
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   1                MS. EPSTEIN:     Sorry, Your Honor.     Rachel

   2     Epstein.

   3                THE COURT:     Yes.

   4                MS. EPSTEIN:     I just have one potential

   5     proposal, which would be that Mr. Repetto

   6     (inaudible) search terms, run them, perhaps run a

   7     privilege screen.

   8                THE COURT:     Yeah.

   9                MS. EPSTEIN:     And then just (inaudible) one

  10     way (inaudible).

  11                THE COURT:     Okay.   That makes sense.     I'll

  12     leave that up to you to try to work that out.           The

  13     privilege may change based on what happens with the

  14     other privilege issues that we're going to talk

  15     about, but that makes a lot of sense.         So -- okay.

  16     Thank you.

  17                MS. WILLIAMS:     Thank you, Your Honor.

  18                THE COURT:     Thank you, Ms. Williams.      Okay.

  19                Any other AMBAC non-privilege,

  20     non-motion-for-reconsideration issues?

  21                Okay.   Thank you.

  22                So let's talk about privilege.        So I have

  23     the 30 examples and I have some questions.

  24                First of all, Lou Derogatis,

  25     D-E-R-O-G-A-T-I-S, I did not see him listed on any
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   1     of the attorney affiliation lists, and so I don't

   2     know who he is.

   3                 MS. TABAKSBLAT:       He is an employee of BBC.

   4     He is not an attorney.        He is in a finance position.

   5                 THE COURT:    Finance?        Okay.

   6                 MS. TABAKSBLAT:       Yes.

   7                 THE COURT:    Okay.     Mark Lavin, L-A-V-I-N,

   8     he's on Exemplar Number 4.          Ms. Hubley (phonetic) is

   9     asking him about -- it is a 2007 document, I think.

  10                 Mark Lavin?    Nobody knows him?

  11                 MS. TABAKSBLAT:       I believe he is a BBC

  12     employee.

  13                 THE COURT:    Okay.     Not lawyer?     Non lawyer?

  14                 MS. TABAKSBLAT:       Correct.

  15                 THE COURT:    Okay.     Anthony Rabin,

  16     R-A-B-I-N, Exemplar Number 5.

  17                 MS. TABAKSBLAT:       Your Honor, we believe

  18     he's at BBC, but we would need to double check.

  19                 THE COURT:    Okay.     Okay.     Chris Bond also?

  20     He's on the same e-mail.

  21                 MS. TABAKSBLAT:       Same.

  22                 THE COURT:    Okay.

  23                 MS. TABAKSBLAT:       Possibly, he's at BBC,

  24     but we would need to check.

  25                 THE COURT:    Okay.
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   1               Okay.    Exemplar Number 12.      What is Core

   2     Impact; C-O-R-E, I-M-P-A-C-T?         Or who is Core

   3     Impact?

   4               MS. McAFFERTY:       Your Honor, is that for --

   5               THE COURT:     That's on Number 12.

   6               MS. McAFFERTY:       Is that PL016912?

   7               THE COURT:     No.     17737.

   8               MS. McAFFERTY:       Your Honor, we would need

   9     to look into that.

  10               THE COURT:     Okay.     I'll just make a note of

  11     it.   All right.

  12               And then the sort of overarching question

  13     is, only -- of the 30 exemplars that I have, only

  14     one indicates, Number 15, that the plaintiffs have

  15     asserted work product as to it as well; otherwise,

  16     we're just talking about attorney-client and common

  17     interest, right?

  18               MS. TABAKSBLAT:        That's correct with

  19     respect to these exemplars.         There's other

  20     third-party communications on the law for which we

  21     assert a work product assertion.

  22               THE COURT:     Okay.

  23               MS. TABAKSBLAT:        But with respect to the

  24     exemplars that the defendants chose, but we

  25     consented to, there's only one for which there is
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   1     work product.

   2               THE COURT:     Okay.     All right.       And are the

   3     defendants challenging any of the work-product

   4     assertions by the plaintiffs?         Or am I just

   5     evaluating attorney-client privilege and the

   6     common-interest exception thereto?

   7               MS. KIRSHNER:     So the defendants are

   8     challenging work product (inaudible).              There are

   9     communications involving parties and any developers

  10     who don't appear to relate to the subject of

  11     validity --

  12               THE COURT:     Okay.

  13               MS. KIRSHNER:     (Inaudible.)

  14               THE COURT:     Okay.     Okay.    So that is it?        A

  15     yes, other than this litigation.           Okay.

  16               MS. TABAKSBLAT:        And, Your Honor, the DSRF

  17     litigation, I believe, counsel just indicated.

  18               THE COURT:     Yes.     Okay.    Because it looked

  19     to me there are at least, I think, five documents --

  20     five of the exemplars that I have that seem to

  21     relate to this litigation, but there's no

  22     work-product assertion marked on the log.              Is -- so

  23     are the plaintiffs not asserting work product as to

  24     those documents then?

  25               MS. TABAKSBLAT:        Your Honor, I assume that
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   1     that was an oversight.         And I believe we're

   2     asserting -- we would be asserting both work product

   3     as well as attorney-client privilege.

   4                THE COURT:    Okay.     Well, that really makes

   5     this a lot harder because I -- this started out as

   6     just common interest, and now it's a -- nobody's

   7     briefed work product for me.

   8                MS. KIRSHNER:       May I just point out in the

   9     bottom line (inaudible) --

  10                THE COURT:    No.     15 is 21496.   That's the

  11     only one that's marked with a work-product

  12     assertion.     Everything else -- all the other

  13     exemplars that I have, the only label that's affixed

  14     to them is attorney-client and common interest.

  15     Okay.

  16                All right.    So you're not challenging,

  17     are you?     You are.

  18                MS. KIRSHNER:       Oh, I'm -- the plaintiffs

  19     are asserting (inaudible).

  20                THE COURT:    Okay.

  21                MS. KIRSHNER:       (Inaudible.)

  22                THE COURT:    All right.     Okay.

  23                So to the extent the plaintiffs are

  24     asserting work-product privilege but that it's not

  25     waived by virtue of the -- of the common interest,
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   1     the defendants are still challenging that or not?

   2     Because a common interest is not a privilege.           It's

   3     an exception to the rule that disclosure to a third

   4     party waives the privilege.

   5               So what I'm trying to understand is

   6     whether -- if the plaintiffs are saying work product

   7     is a privilege that applies, but it's not waived by

   8     virtue of common interest, are the defendants

   9     challenging that as well?

  10               MS. KIRSHNER:     Yes, defendants are

  11     challenging that but for communications between the

  12     parties in the litigation, the present litigation

  13     and the DSRF litigation.

  14               THE COURT:     Okay.

  15               MR. JONES:     Your Honor?

  16               THE COURT:     Yes.

  17               MR. JONES:     This is also the first time

  18     we've heard that they're asserting work-product

  19     protection over some of these documents that, you

  20     know, they --

  21               THE COURT:     Yeah.

  22               MR. JONES:     -- talked to us about.       So I

  23     think we would argue that they've waived

  24     work-product protection to the extent they haven't

  25     asserted it.
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   1                 THE COURT:     Yeah.     Okay.

   2                 So I -- I've tried to kind of break --

   3     break these into categories for purposes of

   4     understanding more what the parties are arguing

   5     about.     Maybe it makes sense to talk about

   6     Clark/Duxbury first.

   7                 So it appears that they're affiliated

   8     entities somehow.        Is Duxbury a successor to Clark

   9     or an affiliate of Clark or what?

  10                 MS. TABAKSBLAT:        They are sister companies,

  11     Your Honor.     They shared infrastructure and they

  12     shared -- they shared infrastructure.           They shared,

  13     sort of, office space.        And so to the extent that

  14     these -- they were essentially organized under a

  15     separate entity but to serve a function exclusively

  16     for Clark.

  17                 In 2007, I believe -- and we have the

  18     specific date in our brief -- Duxbury expanded and

  19     provided these services for outside entities as

  20     well, but initially they were formed exclusively to

  21     provide advisory services for Clark and for no other

  22     purpose.

  23                 And so I think, as we pointed out in our

  24     papers, to demonstrate, like, the proximity of the

  25     relationship, we didn't go separately, and there was
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   1     no separate third-party subpoena served on Duxbury.

   2     But when this -- when there was an obligation to

   3     produce documents by Clark, they collected and

   4     produced documents on behalf of Duxbury as well.

   5               THE COURT:     Okay.   Any of the defendants

   6     want to speak to the Clark/Duxbury relationship?

   7               MR. JONES:     I will briefly, Your Honor.

   8               I don't believe they assert the

   9     common-interest exception with respect to Duxbury,

  10     so I think we're just talking about the Kovel

  11     doctrine and the functional-equivalent doctrine

  12     here.

  13               THE COURT:     Okay.

  14               MR. JONES:     I don't read anything

  15     plaintiffs have asserted as saying that Duxbury

  16     translated or interpreted information or

  17     communications that counsel was unable to understand

  18     on their own, and I think that's the requirement

  19     under the Kovel doctrine.

  20               I also don't see plaintiffs to be saying

  21     that Duxbury was -- had primary responsibility for a

  22     key corporate role, which I think is the crux of the

  23     functional-equivalent doctrine.        Duxbury doesn't

  24     seem to have had primary decision-making authority.

  25     They don't seem to have negotiated or dealt with
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   1     third parties as representatives of plaintiffs on

   2     their behalf.     So I don't think that any -- either

   3     the Kovel doctrine or the functional-equivalent

   4     doctrine apply here.

   5               THE COURT:     Okay.     Thank you.

   6               MS. TABAKSBLAT:        Can I make a point with

   7     respect to all of these documents?

   8               THE COURT:     Sure.

   9               MS. TABAKSBLAT:        And I know we said this in

  10     our letter, but I think it's important for you to

  11     understand the context.

  12               We're not asserting that with respect to

  13     each of these third parties that there's some

  14     blanket privilege, and so there's no documents that

  15     needs to be produced, and that every communication

  16     with all these parties are privileged.          We've

  17     produced thousands of documents between the

  18     developers and the military, the military and the

  19     developers and each of these third parties.

  20               We're saying in certain contexts, each of

  21     these serve a specific role that related to the

  22     provision or that -- the -- that related to the

  23     provision of legal advice.         And in those contexts,

  24     the general waiver doesn't apply under one of the

  25     exceptions that we've articulated.
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   1                 But with respect to Duxbury, we went

   2     through and, you know, the entire universe of what

   3     we're talking about here is something like 4,000

   4     entries.     Of those 4,000 entries, as counsel just

   5     articulated, there is a subset that relate to the

   6     DSRF litigation, which is not even being contested.

   7     And then, you know, those are -- these are just a

   8     subset of these communications.        We've produced

   9     thousands of communications with each of these

  10     entities.

  11                 THE COURT:   Right.   Okay.    Go ahead,

  12     Mr. Jones.

  13                 MR. JONES:   The role that Duxbury played is

  14     a foundational question that doesn't have anything

  15     to do with the -- a document-by-document analysis of

  16     the role that Duxbury was playing.         Plaintiffs have

  17     made their arguments about the role that Duxbury was

  18     playing, and it doesn't establish that either of

  19     these exceptions apply.

  20                 THE COURT:   So if -- could you articulate

  21     for me if we could talk about -- putting aside the

  22     functional equivalent and Kovel for now, putting

  23     aside the advisors, let's focus on, sort of, the

  24     military branches.

  25                 What is the common interest between the
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   1     plaintiffs and the military branches that underlies

   2     what -- the documents that you've withheld as

   3     privileged?

   4               MS. TABAKSBLAT:      Your Honor, these are

   5     essentially joint owners in a project.          And so

   6     nobody -- I don't think anyone would ever come in to

   7     this court and say, Well, there's two principals

   8     that own a company, and the lawyer is giving advice

   9     to both of them together, but that somehow breached

  10     the privilege, or even if those two principals each

  11     form their own legal, sole-purpose entity to then

  12     jointly own this company.

  13               That's what we have here.        We have the

  14     military branch and the developers are -- their

  15     joint-venture partners.       This isn't separate

  16     entities, such as the cases the defendants cite,

  17     where you're dealing with an advertising agency and

  18     a company, and the advertising agency is giving

  19     advice to the company.

  20               The military and the developers each own a

  21     percentage of these projects.        And together they

  22     sought legal advice as to how to properly structure

  23     these projects, how to make sure that they complied

  24     with all available regulatory -- or required

  25     regulatory compliances, how to select a developer,
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   1     and what different -- and what different

   2     considerations went into that.

   3               And as I articulated already, we're not

   4     claiming that every single communication with

   5     respect to each of these functions or each of these

   6     issues that a company faces implicate a legal issue

   7     that implicates a privilege.        But what we did here

   8     is we looked at certain documents that either

   9     involved consideration of potential legal issues or

  10     involved counsel, and we assessed whether or not

  11     these -- these communications, involved legal

  12     issues.   And in those cases, we asserted a privilege

  13     over those specific communications.

  14               THE COURT:     Okay.   Some of these though --

  15     so, like, Number 8, for example, 16724 -- well, I

  16     guess maybe that's not a good one.         This is -- I

  17     think this one is talking about this litigation, so

  18     is -- are the defendants still challenging that one,

  19     Number 8, 16724, the January 2017 Kirkland memo?

  20               MS. KIRSHNER:     Sorry, Your Honor, I don't

  21     have it right in front of me.

  22               THE COURT:     Okay.

  23               MS. KIRSHNER:     But if it's the 2017 memo, I

  24     believe that one is exemplar -- one of the first

  25     five documents.
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   1               THE COURT:     I'm sorry?

   2               MS. KIRSHNER:     This is one of the first

   3     five on the exemplary --

   4               THE COURT:     No, it's Number 8.

   5               MS. KIRSHNER:     Number 8?     Sorry, Your

   6     Honor.

   7               THE COURT:     Okay.     It's a January 2017 memo

   8     from Kirkland.     And Kirkland previously represented

   9     the plaintiffs in this case, right?

  10               MS. TABAKSBLAT:        That's correct.   And it --

  11     and they represented the projects in the DSRF

  12     action.

  13               THE COURT:     Right.

  14               MS. KIRSHNER:     So, Your Honor, the reason

  15     why that is on the list of exemplar is the

  16     (inaudible) companies are included, so --

  17               THE COURT:     Okay.

  18               MS. KIRSHNER:     -- (inaudible) were another

  19     developer in the MHPI case that declined to join

  20     this litigation.

  21               THE COURT:     Okay.

  22               MS. KIRSHNER:     They were involved in the

  23     DSRF litigation.

  24               THE COURT:     Okay.

  25               MS. KIRSHNER:     To the extent they were on
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   1     communications relating to the present litigation,

   2     which they did not agree to join, our position is

   3     that their inclusion was privileged.           They weren't

   4     part of the joint defense agreement in connection

   5     with this litigation (inaudible).

   6               THE COURT:     Okay.

   7               MS. KIRSHNER:     At the very least, you know,

   8     we -- I believe this document is not redacted, so,

   9     of course, if there's discussion about the

  10     litigation that they were involved in that they also

  11     (inaudible).

  12               THE COURT:     Okay.

  13               MS. TABAKSBLAT:        Your Honor?

  14               THE COURT:     Yes.

  15               MS. TABAKSBLAT:        I'd like to just point

  16     out -- and I believe counsel did just see this, is

  17     that the Hunts were parties to the DSRF litigation.

  18     This memo was written before this case was filed,

  19     and so it potentially involves discussions of both,

  20     but they would have been subject to a joint defense

  21     agreement in connection with that case.

  22               THE COURT:     Okay.     MetLife Document Number

  23     1927338, nobody has any -- MetLife isn't anybody's

  24     financial advisor?      There's no -- they weren't party

  25     to any of the projects?
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   1               MS. TABAKSBLAT:        Your Honor, I believe

   2     MetLife was an advisor to a different -- so does

   3     this -- I think this involves a communication that's

   4     not a party to this case.

   5               THE COURT:     Yeah.

   6               MS. TABAKSBLAT:        As you know, we did

   7     produce communications concerning other non-MHPI

   8     plaintiffs, and I believe this involves -- MetLife

   9     is an advisor in connection with those projects.

  10               THE COURT:     Okay.     So it was redacted for

  11     relevance, not privilege?

  12               MS. TABAKSBLAT:        Well, it was -- I believe

  13     MetLife is an advisor, but not in connection with

  14     any of the projects in our case.

  15               THE COURT:     Okay.     So nobody would have any

  16     common interest with them?

  17               MS. TABAKSBLAT:        Well, the developer has

  18     the common interest.      It's just not in connection

  19     with the -- one of the projects.

  20               THE COURT:     Well, the developers are not

  21     parties to this case.

  22               So who is David Rozen, by the way?

  23     R-O-Z-E --

  24               MS. TABAKSBLAT:        David Rozen is a former

  25     employee of Corvias.
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   1               THE COURT:     Okay.   Let me -- I guess,

   2     Ms. Kirshner, any other specific -- of the 30 that I

   3     have, is there anything else that you want me to

   4     understand about any of them in evaluating whether

   5     the privilege applies and has been --

   6               MS. KIRSHNER:     Okay.    Not the specific

   7     exemplars, but I can show you everything that --

   8               THE COURT:     Sure.   Of course.

   9               MS. KIRSHNER:     (Inaudible).

  10               THE COURT:     Yep.

  11               MS. KIRSHNER:     -- relationships, but I

  12     think Mr. Jones touched on it, but (inaudible) they

  13     still are serving the common-interest exceptions

  14     with advisors, but they don't actually identify any

  15     common legal interest in their letters.          So we have

  16     to (inaudible).

  17               So the meat of the issue for

  18     common-interest exceptions seems to be the

  19     military -- the military developers.

  20               Now, plaintiffs' counsel just mentioned,

  21     you know, these are joint ventures, and I think

  22     that's the issue here.      They're relying entirely on

  23     the fact that these two entities set up an LLC or an

  24     LLP to carry out the military housing efforts, but

  25     they -- this was, first, an entirely commercial
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   1     endeavor.     What happened here was the military

   2     wanted to switch from a public financing model to a

   3     private financing model.

   4                 They wanted to outsource that to a private

   5     real estate developer.      They ran a competition.

   6     They selected a developer.       The developers wanted

   7     the lucrative government contracts and the fees that

   8     go along with it, so they weren't completely

   9     aligned.

  10                 I think that is exemplified by the fact

  11     that, as Your Honor just mentioned, the developers

  12     aren't plaintiffs in this case.        The military has

  13     resisted discovery.      They, you know -- we just found

  14     out, didn't even put in a litigation hold in this

  15     case.   So they really are being treated separately

  16     for purposes of this case.

  17                 But then more to the point, they set up

  18     these joint-venture entities essentially so that

  19     they could get the loan financing and distribute it

  20     for these projects.      That's why the operating

  21     agreements were often signed at the same time as the

  22     financial close.     And so once they set up these

  23     entities, then they move forward.         And the fact that

  24     they had a shared interest in the structures being

  25     legally compliant or in the projects doing well does
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   1     not create the common legal interest under the law.

   2                Plaintiffs represented that they have

   3     identified as narrow categories.        That's just not

   4     true at all.     They've identified some -- well, I

   5     think, three or four specific categories pre

   6     formation.     And I'd be happy to talk through

   7     those --

   8                THE COURT:    Sure.

   9                MS. KIRSHNER:    -- and why those are

  10     insufficient.

  11                So the first one is not narrow.        It is how

  12     to properly structure the project.         That -- the

  13     structuring of an entity is essentially a commercial

  14     endeavor, and the case law finds -- or holds that a

  15     collaborative effort to structure a deal or a

  16     transaction that is essentially commercial in

  17     nature, even if it has, you know, some legal

  18     concerns or legal components, it's not a common

  19     legal interest within the meaning of that exception.

  20                So that's the first one that they cite.

  21     And, again, it's ambiguous.       The point is they

  22     wanted to ensure that the structure was easily

  23     compliant.     The SEC case tells us that, you know, a

  24     want to comply with regulations, with statutes, is

  25     insufficient to establish a common legal interest.
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   1                 So the next one they cite is purchase

   2     options in the TDMP.      That is a new one that they've

   3     raised in their December 6th letter.         Similar to the

   4     other ones.     It's unclear exactly what they're

   5     talking about here, but the common legal interest is

   6     there.   There's not been any evidence provided that

   7     that would establish a common legal interest.           The

   8     TDMPs were documents authored by the developers,

   9     approved by the Army and Congress.         They essentially

  10     laid out the whole plan for a given Army project.

  11                 And all we can assume is that, perhaps,

  12     they've added that now because one of the exemplars

  13     on the privilege log mentioned purchase options.               I

  14     believe it's Number 1317921.        But our review of

  15     their entire log suggests that's the only one that

  16     mentions purchase options.

  17                 So, you know, another component of the

  18     common-interest exception is that the disclosures

  19     were made in furtherance of the common legal

  20     strategy.     So, you know, we don't know if this just

  21     applies to that one or if there are other documents

  22     that they are withholding on it.        Anyway, that's the

  23     second one.

  24                 The third one would be tax implications of

  25     the project structures.       Similar to the other two,
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   1     it's not exactly clear what the common legal

   2     interest is there.      If the developer wanted to

   3     ensure the partnerships were compliant with tax law,

   4     that's, again, compliant -- regular compliance with

   5     law and regulations is not a common legal interest.

   6               If they wanted to structure -- they wanted

   7     to set up a tax structure to get favorable tax

   8     treatment, that's a business decision.          And there's

   9     no evidence, nothing's been provided suggesting that

  10     there was, for example, an imminent concern with an

  11     audit, and so they were handling tax issues in

  12     connection with that.

  13               So those are the only three pre-formation

  14     legal interests that have specifically been

  15     identified.    And I can run through the

  16     post-formation ones as well.

  17               THE COURT:     Please do.

  18               MS. KIRSHNER:     Okay.     So the first one --

  19     now, this really goes back to plaintiffs' counsel's

  20     comment with -- that they're narrow.         They've put

  21     "shared legal strategies for protecting the

  22     projects' ongoing legal interests."

  23               So that would apply to any joint venture.

  24     It's incredibly broad.      There's no specific legal

  25     interest identified.      So, you know, we can't really
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   1     say a lot more than that because we don't know what

   2     the specific narrow legal interests are.          But if you

   3     look at, you know, even the out-of-circuit case law

   4     that plaintiffs cite about joint ventures, it's a

   5     very specific approach to the common-interest

   6     exception.     The courts are going through document by

   7     document at some -- in some respects and really

   8     identifying each common legal interest.          Just

   9     asserting a blanket interest over any legal interest

  10     that these projects might have is just -- it would

  11     essentially eviscerate the -- what has been referred

  12     to as "narrow exception."

  13                So aside from that, the final one would be

  14     the implications regarding AMBAC's credit downgrade

  15     in 2008.     So that, as we explained in our letters,

  16     was primarily a business discussion.         What happened

  17     there was in 2008 the financial crisis, AMBAC's

  18     credit was downgraded.      That was, you know, not

  19     viewed as positive for the projects.         AMBAC, at that

  20     point, had consent rights over all the projects, so

  21     they were looking into refinancing.         AMBAC had to

  22     provide consent for that.       They were essentially

  23     trying to figure out how to remove AMBAC from their

  24     projects at that point.

  25                That was a business strategy.        The fact
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   1     that it included the other stakeholders, it also

   2     included third-party advisors, like Barclays, in the

   3     decision to figure out a business strategy of how to

   4     get AMBAC off their deals.

   5               The fact that it might have also had some

   6     legal components where there were legal concerns

   7     that there could be litigation potentially stemming

   8     from such a strategy is not sufficient.          The case

   9     law says that a business strategy that has some

  10     legal concerns is not sufficient to create a common

  11     legal interest.

  12               And, in fact, to our knowledge, there --

  13     and, well, at least we noted in our first letter

  14     that there have been no actual litigations that were

  15     cited stem from this, and there weren't -- not any

  16     identified in plaintiffs' opposition as well.

  17               So to our knowledge, those discussions and

  18     those potential legal concerns did not go anywhere.

  19     And so, anyway, that is the final, kind of,

  20     post-formation legal interest.

  21               THE COURT:     Okay.

  22               MS. KIRSHNER:     So those, I count five

  23     specific -- well, I won't call them specific --

  24               THE COURT:     Yeah.

  25               MS. KIRSHNER:     Those are the legal
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   1     interests that are identified here.

   2               THE COURT:     Okay.     Thank you.

   3               Ms. Tabaksblat, do you want to respond to

   4     any of that?

   5               MS. TABAKSBLAT:        Your Honor, so I'll just

   6     respond briefly, which is to say that we'll start

   7     with AMBAC because that's the last one that we just

   8     touched on.    And, obviously, Your Honor has had the

   9     benefit of reviewing the exemplars, but both some of

  10     the exemplars, as well as additional documents

  11     withheld on the log relate to the discussions about

  12     this 2008 downgrade and specifically the legal

  13     implications that may come of it.

  14               The fact that there was no litigation that

  15     was commenced in 2008 doesn't preclude the assertion

  16     of the common-interest privilege, as the case law is

  17     clear, and I think we cite a number of cases in our

  18     brief that talk about you don't have to actually

  19     have a pending litigation to assert the privilege.

  20               And as Your Honor is well aware, there

  21     ultimately was a litigation that came out of it.               So

  22     the consideration of potential legal implications

  23     was well founded here.

  24               With respect to the additional categories

  25     that counsel just went through, again, the cases
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   1     that the defendants rely on -- and we address those

   2     in Footnote 10 of our letter -- they're dealing with

   3     arm's-length entities, parties -- joint parties to

   4     an insurance agreement, an advertising company

   5     providing consulting to an entity.         They're not

   6     dealing with joint owners of a company.

   7                 And here, yes, there is a commercial

   8     interest.     Every business has a commercial interest,

   9     which is to make money.       We disagree.    And I don't

  10     think the record supports the assertion that this

  11     was a handoff from the military to the developer.

  12                 In fact, it's been very clear at

  13     depositions that the Army had to approve of the

  14     lender that was selected.       And both JLL and the

  15     military branch went through an extensive process.

  16                 And so these were very much joint owners of

  17     projects.     Not everything that they did was legal in

  18     nature, and that is consistent with the fact that we

  19     produced a lot of documents.        But there were certain

  20     instances here where there were objectives and there

  21     were issues that needed to be addressed that did

  22     implicate legal issues, and those were the issues

  23     that we asserted the common-interest privilege.

  24                 And we do think that there is support for

  25     that in the case law.      I'll direct the Court to the
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   1     In Re: Vella Holding, (phonetic) which we cite in

   2     our brief at Footnote 9.         The defendants don't

   3     address that.     And I think that that -- the

   4     relationship there is much more analogous to the

   5     ones that the defendants cite in their case.

   6               Unless Your Honor has any further questions

   7     with respect to the relationship between the

   8     developers and the military branches, I would

   9     want -- I do want to address one more point --

  10               THE COURT:     Okay.

  11               MS. TABAKSBLAT:        -- which is the Malvern

  12     point, if that's okay.

  13               THE COURT:     Okay.

  14               MS. TABAKSBLAT:        So it seems like there has

  15     been some confusion with respect to the relationship

  16     between Malvern, and I'm hoping I can provide some

  17     clarity with respect to that.

  18               Mr. Repetto, who is the principal of

  19     Malvern -- and, again, I don't represent Malvern,

  20     and I have not been in any way involved in the

  21     response to the document subpoena.         But Mr. Repetto,

  22     who's the principal of Malvern, was formerly, as

  23     counsel indicated, an executive vice president of

  24     BBC.   And in his personal capacity as an employee of

  25     BBC, which, at that time, was GMH, he was involved
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   1     in the debt selection process with respect to

   2     certain of the earlier BBC projects.

   3                After he left BBC, Mr. Repetto formed his

   4     own company, Malvern, and he served two roles.            One

   5     was an informal role in his personal capacity, which

   6     was, if there was a question with respect to work

   7     that he previously did, because he had a

   8     relationship, on a one-off instance, he would get a

   9     phone call or an e-mail, Hey, do you remember this?

  10     And there's evidence in the record that there's -- I

  11     can't give you an exact number, but approximately

  12     five, a handful, less than ten communications of

  13     that nature.    That's not in any capacity other than

  14     that as a -- of a former employee.

  15                THE COURT:    Are any of the exemplars an

  16     example?

  17                MS. TABAKSBLAT:       No, because I don't

  18     believe there's an assertion of privilege over that,

  19     but I -- I'm just trying to explain to the Court the

  20     relationship.

  21                THE COURT:    Okay.

  22                MS. TABAKSBLAT:       With respect to the --

  23     with respect to Malvern, Malvern was formally

  24     retained, and I believe the engagement letter was

  25     produced as an advisor to Air Force projects that
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   1     are not parties to this case.         So they are military

   2     housing projects, but they are not plaintiffs in

   3     this case.    They are Navy projects.       And so Malvern

   4     performed an advisory role to those nonparties, but

   5     not in connection with any -- in any of the projects

   6     that are plaintiffs'.

   7               THE COURT:     Okay.     So there wouldn't be any

   8     privilege over those, right?

   9               MS. TABAKSBLAT:        Well, those, again, are

  10     the same joint defense, and so it's not a privilege

  11     that's being asserted by a party to this case.              But

  12     because the Court -- because we did produce

  13     documents for nonparties, the same privilege that

  14     would apply between the military branch and the

  15     developer and the financial advisor, would apply in

  16     that case, even though that party is not.            It's

  17     between the same -- it is between the same joint

  18     owners.   And it is -- even though it's not, it is

  19     still an assertion of privilege between those same

  20     parties; they're just not projects in the case.

  21               THE COURT:     Okay, but it's not your

  22     client's privilege to assert.

  23               MS. TABAKSBLAT:        Well, it's the developers

  24     and the military bases.

  25               THE COURT:     Yeah.     But, again, the
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   1     developers are not here and the military is not

   2     here.   I mean, they were, but they left.           But, you

   3     know, they're not coming in and saying, That's our

   4     privilege.

   5               MS. TABAKSBLAT:        Well -- so, Your Honor, I

   6     guess the -- I guess what the crux of the issue here

   7     is that these are productions that were made

   8     exclusively by the projects.         The way the

   9     productions were made here is by the developers.

  10     So, in theory, these are assertions by the

  11     developers in connection with a production that the

  12     developer is making.      And so it is -- that's the

  13     assertion of privilege that we're asserting here.

  14               THE COURT:     Okay.     That -- all right.

  15     Okay.   Thank you.

  16               Anything anybody else -- any of the other

  17     defendants want to say about privilege?

  18               MR. JONES:     Just a couple of points to

  19     follow on what counsel might have said.            First of

  20     all, to underscore something that I think the Court

  21     has already hinted at, there are dozens of third

  22     parties on plaintiffs' privilege log.         There's some

  23     that they haven't even mentioned in their briefing.

  24     There's MetLife.     There's Core Impact.       For all of

  25     these entities, plaintiffs have made no argument
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   1     whatsoever as to how they qualify for an exception

   2     to waiver.    The Court can reject those exceptions

   3     out of hand as to those entities.

   4               The other point that I would like to make

   5     is Malvern, it doesn't seem like he was performing

   6     any job for plaintiffs, let alone having primary

   7     responsibility for a key corporate job.          So I think

   8     it's clear that he doesn't qualify for the

   9     functional-equivalent exception.

  10               Thank you, Your Honor.

  11               THE COURT:     Okay.   Thank you.

  12               MS. KIRSHNER:     And, Your Honor?

  13               THE COURT:     Yeah.

  14               MS. KIRSHNER:     If I may --

  15               THE COURT:     Sure.

  16               MS. KIRSHNER:     -- respond.

  17               So it's not true that the case law supports

  18     that there is a blanket assertion of common

  19     interest, legal interest, once there's joint owners

  20     or a joint venture.      You know, indeed, the In Re:

  21     Vella case that was mentioned, in that case, the

  22     common interest was triggered by two different

  23     events.   It wasn't just the (inaudible) formation --

  24     (inaudible) joint venture.

  25               And so, anyway, it is just -- this is an
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   1     incredibly broad assertion of the exception, and I

   2     just respectfully direct Your Honor to the first

   3     couple pages of (inaudible) letter, and I think it

   4     is laid out there well, and I then I won't take

   5     up --

   6               THE COURT:     Okay.     I appreciate that.

   7               MS. KIRSHNER:     -- any more time.

   8               THE COURT:     Trust me, I've read it multiple

   9     times, so -- okay.

  10               So on the privilege then I need to get an

  11     answer from the plaintiffs about confirming

  12     Mr. Rabin, Mr. Vaughn and what Core Impact is.

  13               MS. TABAKSBLAT:        Your Honor, with respect

  14     to Mr. Rabin, Mr. Vaughn, those are both BBC

  15     employees.    With respect to Core Impact, we can

  16     advise -- we can send a letter to the Court.

  17               THE COURT:     Okay.

  18               MS. TABAKSBLAT:        (Inaudible.)

  19               THE COURT:     Okay.     That would be great.

  20     All right.

  21               Then in terms of other deadlines, the

  22     spreadsheet from the plaintiffs with the interest

  23     rates, how long do we need to get that together?

  24               MS. TABAKSBLAT:        Your Honor, it's going to

  25     involve getting documents from multiple different
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   1     places.

   2                 THE COURT:   Okay.

   3                 MS. TABAKSBLAT:      Perhaps we could have

   4     until the -- I guess the end of next week is a

   5     holiday.

   6                 THE COURT:   Yes.

   7                 MS. TABAKSBLAT:      So perhaps the end of the

   8     first week in January.

   9                 THE COURT:   Hold on one second.      I think

  10     it's the 7th, but let me see.

  11                 The 6th; is that good?

  12                 MS. TABAKSBLAT:      I think that should be

  13     okay.     And if we have --

  14                 THE COURT:   Okay.

  15                 MS. TABAKSBLAT:      -- an issue, I'll let the

  16     Court know.

  17                 THE COURT:   Okay.     That's fine.   Okay.

  18                 And then we said -- so then the next thing

  19     I have for you, Ms. Tabaksblat, is on the private

  20     litigation, seeing if there are any summary

  21     documents.     And how long is it going to take you to

  22     find that out?

  23                 MS. TABAKSBLAT:      So, Your Honor, that

  24     should be quicker, with the exception that I do not

  25     know what people's vacation --
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   1               THE COURT:     Right.

   2               MS. TABAKSBLAT:        -- and holiday schedules

   3     are.

   4               THE COURT:     Okay.

   5               MS. TABAKSBLAT:        So if --

   6               THE COURT:     How about we do this:      How

   7     about you -- it's more important to me that you let

   8     Mr. Baldoni know what's going on with that.           And

   9     if -- when you send me your letter on the 6th, if

  10     you can, just update me on what the status is.

  11     Okay?

  12               MS. TABAKSBLAT:        Okay.

  13               THE COURT:     But, obviously, if you have the

  14     information, share it with them sooner.          Okay.

  15               The damages issue raised by AMBAC was

  16     denied without prejudice.         Malvern, I gave you

  17     instructions about, you know, meeting and conferring

  18     with them about their -- the subpoena to them.              And

  19     then I think that's it for deadlines, unless I'm

  20     missing something, right?         Okay.

  21               MR. JONES:     Did you mention the military's

  22     letter?

  23               THE COURT:     I did -- I talked about that

  24     with Mr. Bannon before he left, so I didn't bring

  25     that up again.     But I'm going to get a letter from
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   1     him by the end of this week, I think.

   2               So the last issue then substantively is the

   3     motion for reconsideration.

   4               So, Ms. Tabaksblat, that's your motion, so

   5     is there anything else you want to say?

   6               MS. TABAKSBLAT:      Your Honor, we -- you

   7     know, we obviously -- we respect the Court's ruling,

   8     and this was new information that came out

   9     subsequent to the Court's ruling.         So after we

  10     received the Court's decision, we deposed

  11     Mr. Eveland.    And, you know, quite simply, Your

  12     Honor, we just -- we presented the Court with the

  13     testimony from Mr. Eveland, which we think -- which

  14     we think suggests that to the extent that the Court

  15     determined that the documents weren't relevant

  16     because the RMBS consent judgment related to

  17     treating and this case relates to the financing of

  18     complex transactions, Mr. Eveland, I think,

  19     highlights two points.

  20               One is that the underlying nature of the

  21     fraud was the same, which is that, in this case, the

  22     way in which the -- we are alleging that the

  23     fraudulent financing was executed was by preselling

  24     the bonds, and that involved a differential between

  25     the pricing that the projects were getting and the
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   1     pricing that the public was getting.           And so there

   2     was the same differential in the pricing of bonds in

   3     both cases.

   4                The other thing that was highlighted

   5     through that testimony was that it involved the same

   6     groups and the same individuals, and so we -- you

   7     know, we pointed the Court to a very, very specific,

   8     discrete portion of Mr. Eveland's testimony.           And

   9     respectfully, Your Honor, we believe that's new

  10     information that we weren't able to present to the

  11     Court in our prior motion, but it does go directly

  12     to the Court's ruling.

  13                THE COURT:    Okay.    Thank you.

  14                Mr. Balber?

  15                MR. BALBER:    Well, Your Honor, I feel like

  16     I'm arguing this point for the third time because I

  17     am -- oh, fourth.

  18                THE COURT:    Four.

  19                MR. BALBER:    Thank you, Your Honor.

  20                Not sure what else to say other than

  21     there's nothing in Mr. Eveland's testimony that

  22     changes the dynamic.      He absolutely did not testify

  23     that the nature of the fraud is the same.           He said

  24     precisely the opposite.       We've all known since the

  25     NPA was submitted in 2014 and plaintiffs referenced
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   1     in the complaint that the -- both groups, the

   2     Military Housing Group and the RMBS Trading Group

   3     were under the same rubric with the same two people

   4     at the top.     There's no news there.      No reason to

   5     revisit this, Your Honor.        Happy to address any

   6     questions you have, but same old story for the

   7     fourth time.

   8                THE COURT:    Okay.    Thank you.

   9                Anything further, Ms. Tabaksblat?

  10                Okay.   I'm going to deny the motion, but

  11     I'll get a written ruling out to you.           I promise I

  12     will this time, unlike last time, so...

  13                Okay.   Anything else anybody wants to raise

  14     today that I missed?

  15                Okay.   Hearing nothing.

  16                All right.    So you -- it sounds like you

  17     have a lot of depositions coming up.           I guess the

  18     only thing we didn't talk about is the 30(b)(6)

  19     topics for Jefferies.       You guys are going to meet

  20     and confer on that.      Do you -- do we -- do you want

  21     to just let me know if you can't work anything out,

  22     or --

  23                MR. BALBER:    I would suggest that

  24     plaintiffs give us another iteration of their

  25     request.    Happy to talk any time, but I feel like
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   1     we've been doing a lot of talking and not making a

   2     lot of progress.

   3                 THE COURT:    All right.     Well, how about I

   4     give you until the 6th, one -- January 6th, one last

   5     try.     And then if you can't -- you don't -- if you

   6     want to submit the topics to me at that -- the

   7     topics that are in dispute, I guess.

   8                 Actually, strike that.       Give me the whole

   9     list of everything that's been agreed, and then mark

  10     what's been -- what's in disagreement.

  11                 And if you -- Mr. Balber, if you have a

  12     competing proposal for that topic, you know, or how

  13     you would reword it, the -- you know, that's fine.

  14     I don't know that I need to hear more argument on

  15     this, but just whatever is in dispute and what the

  16     parties' competing proposals are.          Fair enough?

  17     Okay.

  18                 MS. TABAKSBLAT:       That works for us, Your

  19     Honor.

  20                 THE COURT:    Okay.     So can we aim for

  21     January 6th?     You can let me know that as well?

  22                 MR. BALBER:    That's fine, Judge.      Thank

  23     you.

  24                 THE COURT:    Okay.     Do we have any 30(b)6s?

  25     Are there any Jefferies 30(b)6s that are supposed to
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   1     take place before then?

   2                 MR. BALBER:    It has not been scheduled yet.

   3     No.

   4                 THE COURT:    Okay.    So that's enough time

   5     then for you to work it out.         Okay.

   6                 All right.    Did I forget anything?      Okay.

   7     Very good.

   8                 All right.    Well, thank you all for coming

   9     in today.     Have a nice holiday.      And I'm sure I will

  10     be speaking to you in the new year.          Thank you.

  11                 MR. JONES:    Thank you.

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   3                        C E R T I F I C A T E

   4

   5             I, Adrienne M. Mignano, certify that the

   6     foregoing transcript of proceedings in the case of

   7     Monterey Bay Military Housing, LLC, et al. v. AMBAC

   8     Assurance Corp. et al., Docket #19-cv-9193, was

   9     prepared using digital transcription software and is

  10     a true and accurate record of the proceedings.

  11

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  13     Signature     ___________________________

  14                       ADRIENNE M. MIGNANO

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  16     Date:         December 21, 2022

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